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                IN THE CIRCUIT COURT OF THE THIRTEENTH JUDICIAL CIRCUIT IN AND FOR
                                  HILLSBOROUGH COUNTY, FLORIDA
                                            CIVIL DIVISION

             ARNOLD EDMONDS                                   )
                                                              )
                Plaintiff,                                    )
                                                              )
                                                              ) Case No.:
                                                              )
              ARMSTRONG INTERNATIONAL, INC.,                  ) Division:
              AURORA PUMP COMPANY,                            )
            ; BLACKMER PUMP COMPANY,                          )
              CARRIER CORPORATION,                            )
              CATERPILLAR INC.;                               )
              CROWN CORK & SEAL CO., INC., as                 )
                successor-in-interest to MUNDET CORK, )
              ELECTROLUX HOME PRODUCTS, as                    )
                successor-by-merger to WHITE                  )
                CONSOLIDATED INDUSTRIES, as                   )
            •   successor-by-merger to COPES VULCAN, )
            • INC.,                                           )
              FLOWSERVE US, INC. as                           )
                successor-in-interest to DURAMETALLIC )
                CORPORATION;                                  )
              FLOWSERVE US, INC., solely as Successor to )
                ROCKWELL MANUFACTURING                        )
                COMPANY, EDWARD VALVE, INC.,                  )
            • NORDSTROM VALVES, INC., EDWARD )
                VOGT VALVE COMPANY, and VOGT                  )
                VALVE COMPANY;                                )
              FMC CORPORATION, Individually and as            )
              • Successor to CHICAGO PUMP                     )
                COMPANY, NORTHERN PUMP                        )
                COMPANY, and PEERLESS PUMP                    )
                COMPANY;                                      )
              GARDNER DEVNER, INC.;                           )
              GOULDS PUMP LLC;                                )
              GRINNELL LLC, d/b/a GRINNELL                    )
              • CORPORATION,                                  )
              HONEYWELL INTERNATIONAL, INC. as )
                Successor-in-Interest to Allied Signal, Inc., )
                and Bendix Corporation;                       )
              HOWDEN NORTH AMERICA, individually )
                and as successor-in-interest to BUFFALO       )
                FORGE COMPANY, INC.,                          )




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               IMO INDUSTRIES, INC., Individually        )
                  and as Successor-in-Interest to        )
                  DELAVAL TURBINE, INC.;                 )
               ITT LLC, as successor-in-interest to      )
                  ITT CORPORATION, and its               )
                  former divisions,        BELL &        )
                  GOSSETT,         and       FOSTER )
                  ENGINEERING,                           )
               LAMONS GASKET COMPANY a/k/a               )
                  LAMONS METAL GASKET CO.;               )
               METROPOLITAN LIFE INSURANCE               )
                  CO.,                                   )
               SPIRAX SARCO INC.,                        )
               UNION CARBIDE CORPORATION,                )
               WARREN PUMPS, L.L.C., Individually and as )
                  Successor-in-Interest to QUIMBY PUMP   )
                  CO.                                    )
                                                         )
                                                         )
                  Defendants.                            )
                                                         )
                                                       X
                                                         )
                •                                        )
                                                         )
                                                         )
                                                         )
                •                                        )
                                                         )
                                                         )
                                                         )'


                                                         COMPLAINT

                      COMES NOW Plaintiff, ARNOLD EDMONDS by and through the undersigned

               attorneys, and for his causes of action against Defendants, states as follows:
11!


                                     GENERAL ALLEGATIONS AS TO ALL COUNTS

                        I.    This is an action for damages in excess of Thirty Thousand ($30,000.00) Dollars.

                       2.     Plaintiff, ARNOLD EDMONDS is domiciled in the State of Michigan, and;

                resides at 6580 Indian Reserve Trail Alpena, Michigan 49707. Plaintiff, ARNOLD EDMONDS '




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                was exposed to and inhaled, ingested or otherwise absorbed large amounts of asbestos fibers

                emanating from certain products while in the state of Florida.

                        3.    This Court has personal jurisdiction over each and every Defendant pursuant to

                 Florida's long-arm statutes, including but not limited to sections 47.16, 47.17, 48.181, 48.182,

                and 48.193, Florida Statutes.

                        4.    This Court has specific personal jurisdiction over each and every Defendant as the

                suit arises out of or relates to each Defendants' contacts with the forum state, including, but not

                limited to:

                                             Defendants have engaged in commercial activities and have

                                             conducted business and business ventures in the State of Florida at

                                             all times material to the causes of action and through the present;

                                                The alleged causes of action arise out of, or relate to, the business

                                             or business ventures conducted within the State of Florida by each

                                             named Defendant; Defendants purposefully availed themselves of

                                             the benefits and protections of the State of Florida and Florida law

                                             by conducting significant revenue-producing business and could

                                             have reasonably foreseen that their activities would subject them to

                                            jurisdiction of the Florida courts;

                                             Defendants have or have had offices or agencies within the State of

                                             Florida;

                                   iv.       Plaintiff was exposed to Defendants' asbestos-containing products

                                             when he worked with and around Defendants' asbestos-containing

                                             products in the State of Florida;




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                                v.      The foreign corporation Defendants engaged in a course of conduct

                                        that was nationwide, including within Florida, in its distribution and

                                       sale of asbestos-containing products and/or in its failure to provide

                                        adequate warnings;

                               vi.      Each foreign corporation Defendant specifically targeted the

                                        Florida market by directly or indirectly distributing

                                        asbestos-containing products within the State of Florida;

                              vii.      The foreign corporation Defendants have through agents,

                                        employees, brokers, jobbers, wholesalers, or distributors sold,

                                        consigned, licensed, or leased tangible or intangible personal

                                        property to persons in Florida;

                              viii.     Plaintiff purchased Defendants' asbestos-containing products in the

                                        State of Florida;

                               ix.      The foreign corporation Defendants have committed wrongful acts

                                        either outside or inside of the State of Florida causing injury to

                                        Plaintiff as a result of products, materials, or things processed,

                                        serviced, or manufactured by Defendants that were used or

                                        consumed within the State of Florida in the ordinary course of

                                        commerce, trade or use, including breaching its continuing duty to

                                        warn Plaintiff to avoid further asbestos exposure;

                               x.       The foreign corporation Defendants have conducted substantial and

                                        not isolated activity within Florida; and/or The foreign corporation

                                        Defendants registered for the right to conduct intrastate business in




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                                           Florida, conducted intrastate business in Florida pursuant to such

                                           registration, maintained a registered agent for service of process in

                                           Florida, 'and/or was served with process in this case via its Florida

                                           registered agent.

                         5.   Plaintiff alleges his asbestos exposure and subsequent injury arising from

              products manufactured by each named Defendant occurred on Florida soil while Plaintiff was

              serving aboard the USS Saratoga, which was docked at the Mayport Naval Station in

              Jacksonville, Florida from 1962 to 1964. In other words, Plaintiff alleges products

              manufactured by Defendants were used and/or consumed within the State of Florida in the

              ordinary course of commerce, trade, or use which exposed Plaintiff to asbestos fibers and

              caused his injury. As such, this Court has specific personal jurisdiction over each named

              Defendant.

                         6.   Venue is proper in Hillsborough County pursuant to Florida Statute §§ 47.011,

              47.021, and 47.051, as at least one of the Defendants is located here or has agents and/or

              representatives that reside in Hillsborough County, Florida.
                                                                                                               `-7
                         7.   Plaintiff, ARNOLD EDMONDS, is Dal considered a smoker as defined by

              Florida's Asbestos and Silica Compensation Fairness Act, Chapter 774 of the Florida Statutes.

              Specifically, ARNOLD EDMONDS has not smoked cigarettes or used other tobacco products

              on a consistent and frequent basis within the timeframe contemplated by the above-named

              statute.

                         8.   Plaintiff, ARNOLD EDMONDS, served in the U.S. Navy from 1960-1964.

              Specifically, Mr. Edmonds served aboard the USS Euryale (AS-22) during the years 1960-1961;

              the USS Windsor (ARD-22) during the years 1961-1962, the USS Saratoga (CV-60) during the




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                  years 1962-1964, home ported at Mayport Naval Shipyard in Jacksonville, Florida during the

                  years 1962-1964.

          Date         Employer          Ship/Location           Job Type                        Exposure
        1960-1961      US Navy            USS Euryale          Machinist Mate   Plaintiff performed Machinist Mate jobs
                                            (AS-22)                             as needed and was exposed to asbestos
                                                                                throughout the site, as they removed and
                                                                                replaced asbestos-containing products
                                                                                and/or worked near others who did.
        1961-1962       US Navy           USS Windsor          Machinist Mate   Plaintiff performed Machinist Mate jobs
                                           (ARD-22)                             as needed and was exposed to asbestos
                                                                                throughout the site, as they removed and
                                                                                replaced asbestos-containing products
                                                                                and/or worked near others who did.
        1962-1964       US Navy          USS Saratoga          Machinist Mate   Plaintiff performed Machinist Mate jobs
                                           (CV-60)                              as needed and was exposed to asbestos
              •                                                                 throughout the site, as they removed and
                                                                                replaced asbestos-containing products
                                                                                and/or worked near others who did.



                         9.    Throughout the 1960-1964 timeframe and while aboard the naval ships, Mr.

                  Edmonds routinely and according to his job duties as a Machinist Mate removed and replaced

             •asbestos gaskets, block, refractory, castable, pipe covering, insulating cement, packing and/or

                  spray from valves, boilers, pumps, and/or other miscellaneous machinery, and/or worked near

             •others who did. Mr. Edmonds also utilized asbestos gloves and blankets and removed and/or

                  replaced asbestos pipe and tile, and/or worked near others who did. Mr. Edmonds cut, scraped,

                  chipped, mixed, pulled, and/or sawed these items, and/or worked near others who did. Mr.

             1Edmonds, as well as others in his vicinity, routinely, and according to their job duties,

                  performed these tasks. These processes, including sweeping up after each job, created asbestos

                  dust that Mr. Edmonds regularly inhaled.

                         10.   During the course of his employment at the various locations mentioned above,

                  Mr. Edmonds was exposed to and inhaled, ingested or otherwise absorbed large amounts of




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              asbestos fibers emanating from certain products he was working with and around, which were

              manufactured, sold, distributed, installed or promoted by the following Defendants:

                             i.    ARMSTRONG INTERNATIONAL, INC.,
                                   AURORA PUMP COMPANY,
                                   BLACKMER PUMP COMPANY,
                            iv.    CATERPILLAR INC.;
                             v.    CARRIER CORPORATION,
                            vi.    CROWN CORK & SEAL CO., INC., as successor-in-interest to
                                   MUNDET CORK,
                           vii.    ELECTROLUX HOME PRODUCTS, as successor-by-merger to
                                   WHITE           CONSOLIDATED              INDUSTRIES,      as
                                   successor-by-merger to COPES VULCAN, INC.,
                          viii.    FLOWSERVE US Inc. as successor-in-interest to
                                   DURAMETALLIC CORPORATION;
                            ix.    FLOWSERVE US, INC., solely as Successor to ROCKWELL
                                   MANUFACTURING COMPANY, EDWARD VALVE, INC.,
                                   NORDSTROM VALVES, INC., EDWARD VOGT VALVE
                                   COMPANY, and VOGT VALVE COMPANY;
                            x.     FMC CORPORATION, Individually and as Successor to
                                   CHICAGO PUMP                     COMPANY, NORTHERN PUMP
                                   COMPANY, and PEERLESS PUMP                  COMPANY;
                            xi.    GARDNER DEVNER, INC.;
                           xii.    GOULDS PUMP LLC;
                          xiii.    GRINNELL LLC, d/b/a GRINNELL CORPORATION,
                          xi v.    HOWDEN NORTH AMERICA, individually and as
                                   successor-in-interest to BUFFALO FORGE COMPANY, INC.,
                           xv.     HONEYWELL INTERNATIONAL, INC. as Successor-in-Interest
                                   to Allied Signal, Inc„ and Bendix Corporation;
                          xvi.     IMO INDUSTRIES, INC., Individually and as
                                   Successor-in-Interest to DELAVAL TURBINE, INC.;
                          xvii.    ITT LLC, as successor-in-interest to ITT CORPORATION, and its
                                   former divisions, BELL & GOSSETT, and FOSTER
                                   ENGINEERING,
                      xviii.       LAMONS GASKET COMPANY a/lc/a LAMONS METAL
                                   GASKET CO.;
                           xix.    METROPOLITAN LIFE INSURANCE                  CO.;
                            xx.    SPIRAX SARCO
                           xxi.    UNION CARBIDE CORPORATION,
                          xxii.    WARREN PUMPS, L.L.C., Individually and as
                                   Successor-in-Interest to QUIMBY PUMP CO.

                     2.       Defendant ARMSTRONG INTERNATIONAL INC., is a foreign corporation

              organized in the State of Michigan that is engaged in substantial and not isolated activity, and




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                    essentially at home in the State of Florida. With respect to this Defendant, Plaintiff alleges

            , exposure to friable asbestos emanating from at minimum Armstrong steam traps' insulation,

                    packing, and/or gaskets.

                           3.     Defendant AURORA PUMP COMPANY is a foreign corporation headquartered

                    in the State of Illinois that is engaged in substantial and not isolated activity, and essentially at

                    home in the State of Florida. With respect to this Defendant, Plaintiff alleges exposure to friable

                    asbestos emanating from at minimum Aurora pumps' insulation, packing, and/or gaskets.

                           4.     Defendant BLACKMER PUMP COMPANY is a foreign corporation organized in .

                    the State of Michigan that is engaged in substantial and not isolated activity, and essentially at

                    home in the State of Florida. Plaintiff alleges exposure to friable asbestos emanating from at

                    minimum Blacluner's pumps' insulation, packing, and gaskets.

                           5.     Defendant CATERPILLAR INC. is a foreign corporation organized in the State of

                    Delaware that is engaged in substantial and not isolated activity, and essentially at home in the

            , State of Florida. Plaintiff alleges exposure to friable asbestos emanating from at minimum

            . Caterpillar heavy machineries' insulation and gaskets.

                           6.     Defendant CARRIER CORPORATION is a corporation organized in the State of

                    Florida. Plaintiff alleges exposure to friable asbestos emanating from at minimum refrigerating

                'plant.

                           7      Defendant CROWN CORK AND SEAL is a foreign corporation organized in the

                    State of Pennsylvania that is engaged in substantial and not isolated activity, and essentially at

                    home in the State of Florida. Plaintiff alleges exposure to friable asbestos emanating from at

                -   minimum Mundet's insulation, packing, and gaskets.
            •
                           8.     Defendant ELECTROLLTX HOME PRODUCTS, as successor-by-merger to:




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              WHItE CONSOLIDATED INDUSTRIES, as successor-by-merger to COPES VULCAN,

              INC.,is a foreign corporation that is engaged in substantial and not isolated activity, and

              essentially at home in the State of Delaware. Plaintiff alleges exposure to friable asbestos

              emanating from, at minimum, Copes Vulcan valves' asbestos containing gaskets.

                     9.     Defendant FLOWSERVE US Inc. as successor-in-interest to DURAMETALLIC

              CORPORATION;. is a foreign corporation organized in the State of Delaware that is engaged in

              substantial and not isolated activity, and essentially at home in the State of Florida. With respect

              to this Defendant, Plaintiff alleges exposure to friable asbestos emanating from at minimum

              gaskets and packing.

                     10.    Defendant FLOWSERVE US, INC., solely as Successor to ROCKWELL

              MANUFACTURING COMPANY, EDWARD VALVE, INC., NORDSTROM VALVES, INC.„

              EDWARD VOGT VALVE COMPANY, and VOGT VALVE COMPANY; is a foreign

              corporation organized in the State of Delaware that is engaged in substantial and not isolated

              activity, and essentially at home in the State of Florida. With respect to this Defendant, Plaintiff

              alleges exposure to friable asbestos emanating from at minimum gaskets and packing.

                     11.    Defendant FMC CORPORATION is a foreign corporation organized in the State

              of Delaware that is engaged in substantial and not isolated activity, and essentially at home in

              the State of Florida. With respect to this Defendant, Plaintiff alleges exposure to friable asbestos

              emanating from at minimum Northern pumps' insulation, packing, and gaskets.

                     12.    Defendant GARDNER DENVER, INC. is a foreign corporation organized in the

              State of Illinois that is engaged in substantial and not isolated activity, and essentially at home

              in the State of Florida. Plaintiff alleges exposure to friable asbestos emanating from at minimum

              Gardner Denver pumps' insulation, packing, and gaskets.




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                     13.    Defendant GOULDS PUMP INC. is a foreign corporation organized in the State

              of Delaware that is engaged in substantial and not isolated activity, and essentially at home in

              the State of Florida. With respect to this Defendant, Plaintiff alleges exposure to friable asbestos

              emanating from at minimum Goulds pumps' insulation, packing, and gaskets.

                     14.    Defendant GRINNELL LLC is a foreign corporation organized in the State of

              Delaware that is engaged in substantial and not isolated activity, and essentially at home in the

              State of Florida. Plaintiff alleges exposure to friable asbestos emanating from at minimum

             •Grinnell valves' insulation, packing, and gaskets.

                     15.    Defendant HOWDEN NORTH AMERICA, individually and as

              successor-in-interest to BUFFALO FORGE COMPANY, INC., is a foreign corporation

              organized in the State of Delaware that is engaged in substantial and not isolated activity, and

              essentially at home in the State of Florida. Plaintiff alleges exposure to friable asbestos

              emanating from at minimum Buffalo Forge forced draft blowers' insulation, packing, and

              gaskets.

                     16.    Defendant HONEYWELL INTERNATIONAL INC., is a foreign corporation

              organized in the State of Delaware that is engaged in substantial and not isolated activity, and

              essentially at home in the State of Florida. With respect to this Defendant, Plaintiff alleges

             oexposure to friable asbestos emanating from at minimum brake pads and friction materials.

                     17.    Defendant IMO INDUSTRIES INC. is a foreign corporation organized in the

              State of Delaware authorized to do business in the State of Florida. With respect to this

              Defendant, Plaintiff alleges exposure to friable asbestos emanating from at minimum DeLaval

              pumps' insulation, packing, and gaskets.

                     18.    Defendant ITT CORPORATION is a foreign corporation organized in the State of




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              Indiana that is engaged in substantial and not isolated activity, and essentially at home in the

              State of Florida. With respect to this Defendant, Plaintiff alleges exposure to friable asbestos

              emanating from at minimum Foster Engineering valves' insulation, packing, and gaskets.

                      19.   Defendant LAMONS GASKET COMPANY is a foreign corporation organized in

              the State of Delaware that is engaged in substantial and not isolated activity, and essentially at

              home in the State of Florida. Plaintiff alleges exposure to friable asbestos emanating from at

              minimum Lamons gaskets.

                     20.    Defendant METROPOLITAN LIFE INSURANCE CO. is a foreign corporation

              organized in the State of New York that is engaged in substantial and not isolated activity, and

              essentially at home in the State of Florida.

                     21.    Defendant SPIRAX SARCO, INC. is a foreign corporation organized in the State

              of Delaware that is engaged in substantial and not isolated activity, and essentially at home in

              the State of Florida. Plaintiff alleges exposure to friable asbestos emanating from at minimum

              Spirax Sarco steam traps' and valves' insulation, packing, and gaskets.

                     22.    Defendant UNION CARBIDE CORPORATION is a foreign corporation

              organized in New York that is engaged in substantial and not isolated activity, and essentially at

              home in Florida. With respect to this Defendant, Plaintiff alleges exposure to friable asbestos

              emanating from, at minimum, Defendant's asbestos containing joint and plastic compounds.

                     23.    Defendant WARREN PUMPS LLC is a foreign corporation organized in the State

              of Delaware that is engaged in substantial and not isolated activity, and essentially at home in

              the State of Florida. With respect to this Defendant, Plaintiff alleges exposure to friable asbestos

              emanating from at minimum Warren pumps' insulation, packing, and gaskets.

                     24.    Plaintiff was injured by products manufactured by each named Defendant while in




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                the State of Florida. As such, this Court has specific personal jurisdiction over each Defendant.

                                COUNT I NEGLIGENCE AGAINST ALL DEFENDANTS

                       25.    Plaintiff restates and it-alleges paragraphs one (1) through twenty-four (24) above

                as though fully set forth herein as Count I of his Complaint and also states as follows:

                       26.    At all times herein set forth, the Defendants' products were being employed in the

               , manner and for the purposes for which they were intended.

                       27.    Mr. Edmonds' exposure to and inhalation, ingestion or absorption of the asbestos •

                fibers emanating from the above-mentioned products and related work duties was completely
114,
                foreseeable and could or should have been anticipated by Defendants.

                       28.    Defendants knew or should have known that the asbestos fibers contained in their

                products had a toxic, poisonous, and highly deleterious effect upon the health of persons

                inhaling, ingesting or otherwise absorbing them.

       29.      That on or around August 19, 2021, Mr. Edmonds learned that he had non-small cell lung

               .carcinoma, and at a subsequent time learned said disease was wrongfully caused by prior

                asbestos exposure. See Pathology Report attached as Exhibit A.

       30.     ,At all times relevant to this action, Defendants had a duty to exercise reasonable care and

                caution for the safety of Mr. Edmonds and others working with and around the products of

               'Defendants containing asbestos.

                       31.    Defendants failed to exercise ordinary care and caution for the safety of Mr;

               :Edmonds in one or more of the following respects:

                      (a)     Included asbestos in their products, even though it was completely
                              foreseeable and could or should have been anticipated that persons such as
                              Mr. Edmonds working with or around them would inhale, ingest or
                              otherwise absorb great amounts of that asbestos;

                      (b)     Included asbestos in their products when Defendants knew or should have




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                           known that said asbestos fibers would have a toxic, poisonous and highly
                           deleterious effect upon the health of persons inhaling, ingesting or
                           otherwise absorbing them;

                    (c)    Included asbestos in their products when adequate substitutes for the
                           asbestos in them was available;

                    (d)    Failed to provide any or adequate warnings to persons working with and
                           around the products of the dangers of inhaling, ingesting or otherwise
                           absorbing the asbestos fibers contained in them;

                    (e)    Failed to provide any or adequate instructions concerning the safe methods
                           of working with and around the products, including specific instructions
                           on how to avoid inhaling, ingesting or otherwise absorbing the asbestos
                                                                                                                111
                           fibers in them;                                                                      !!I



                    (0     Failed to conduct tests on the asbestos-containing products manufactured,
                           sold, delivered or installed by Defendants in order to determine the
                           hazards to which workers such as the Plaintiff might be exposed while
                           working with the products.

                     32. That as a direct and proximate result of one or more of the foregoing acts or

              omissions on the part of the Defendants, Mr. Edmonds was exposed to and inhaled, ingested or

              otherwise absorbed great amounts of asbestos fibers causing Mr. Edmonds to develop lung

              cancer, which disabled and disfigured Mr. Edmonds. Plaintiff has been compelled to expend and

              become liable for large sums of monies for hospital, medical and other health care services

              necessary for the treatment of the Mr. Edmonds' asbestos-induced disease and conditions; Mr.

              Edmonds experienced great physical pain and mental anguish as a result of the inhalation,

              ingestion and absorption of said asbestos fibers;. that as a further result of the Mr. Edmonds'

              asbestos-induced disease and conditions, and Mr. Edmonds was hindered and prevented from

              pursuing his normal course of employment, thereby losing large sums of money which

              otherwise would accrue to him and his estate.

                    WHEREFORE, Plaintiff demands judgment for compensatory damages against thei

             Defendants in a sum in excess of THIRTY THOUSAND ($30,000.00) DOLLARS, and the costs




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             of these proceedings, which will fairly and reasonably compensate for Plaintiff's injuries.

                           COUNT II STRICT LIABILITY AGAINST ALL DEFENDANTS

                     33.    Plaintiff restates and re-alleges Paragraphs (1) through twenty-four (24) above as

              though fully set forth herein as Count II of his Complaint and also states as follows:

                     34. At the time Defendants used, installed, manufactured, sold and distributed the

              asbestos-containing products to which Mr. Edmonds was exposed, said products were in a

              defective condition and unreasonably dangerous in that:

                    (a)     Said products contained friable asbestos fibers as a constituent substance;

                    (b)     Said fibers were highly toxic, deleterious, poisonous and harmful to the
                            health of Mr. Edmonds and others similarly situated; and

                    (c)     Said products were not accompanied by any warning/instructions or by
                            inadequate warning/instructions advising of the danger of exposure to
                            asbestos or of precautions to be employed in the use of asbestos- containing
                            products.

                     35.    Defendants' defective products reached the point of Mr. Edmonds' exposure in

              substantially the same condition as when defectively designed, used, manufactured, distributed,

              and sold.

                     36. At all times relevant to this action, said products were used in the manner and

              environment intended, and in the manner reasonably foreseeable and anticipated by the

              Defendants.

                     37.    Defendants are strictly liable to Plaintiff for all injuries and damages that were

              contracted as a direct and proximal result of Mr. Edmonds' exposure to asbestos from said

             products.

                     38.    Asbestos and asbestos-containing products are inherently dangerous and as such,

              the Defendants, who made or sold asbestos or the equipment, processes or other things:




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              necessary for its use, are strictly liable to Plaintiff for all injuries and damages which were

              contracted thereby.

                      39.    All Defendants who assisted, directly or indirectly, in the leasing or licensing of

              asbestos, asbestos-containing products and all equipment necessary for their use are strictly

              liable to Plaintiff for all the injuries and damages which were contracted thereby.

                      40.    The handling of asbestos packages, installation, removal and usc of asbestos and

              asbestos-containing products is an ultra-hazardous activity, and Defendants, who assisted

              directly or indirectly in this, are strictly liable for Plaintiff's injuries which were caused thereby.

                      41.    The Defendant-manufacturers and suppliers warranted the asbestos products for

              their intended purpose and use. Defendants violated this warranty, as the product was neither

              packaged nor provided in a method proper for its intended use; and Defendants are strictly

              liable to the Plaintiff for all injuries caused thereby.

                      42.    That as a direct and proximate result of one or more of the foregoing acts or

              omissions on the part of the Defendants, Mr. Edmonds was exposed to and inhaled, ingested or

              otherwise absorbed great amounts of asbestos fibers causing Mr. Edmonds to develop lung

              cancer, which disabled and disfigured Mr. Edmonds. Plaintiff has been compelled to expend and

              become liable for large sums of monies for hospital, medical and other health care services

              necessary for the treatment of the Mr. Edmonds' asbestos-induced disease and conditions; and

              Mr. Edmonds experienced great physical pain and mental anguish as a result of the inhalation,

              ingestion and absorption of said asbestos fibers.

                    WHEREFORE, Plaintiff demands judgment for compensatory damages against thc

             Defendants in a sum in excess of THIRTY THOUSAND ($30,000.00) DOLLARS, and the costs

             of these proceedings, which will fairly and reasonably compensate for Plaintiff's injuries.




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                                              DEMAND FOR JURY TRIAL

              •     Plaintiff respectfully demands a trial by jury for all issues so triable in this action.

             DATED this 22 nd day of February, 2022.



                                                                            /s/Paike Woldvla
                                                                            PAIGE WOJDYLA
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                                                      Expert Report

                                                             of

                                        Gerald Markowitz PhD and David Rosner PhD

                                                 November 9, 2011




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                                                        Introduction:


             We have been asked to conduct a historical review of the relevant medical, scientific, industrial
             hygiene and industrial literature, as well as other relevant publically available information and
             provide our expert opinions, expressed to a reasonable degree of certainty, in answer to the
             following questions:

                1. When was it known and therefore knowable that breathing dust containing asbestos could
                   cause disease?
                2. When was it known and therefore knowable that breathing dust containing asbestos could
                   cause cancer?
                3. Who was known to be at risk for contracting asbestos-caused diseases and when was that
                   known?


             Background, Qualifications and Experience:

             David Rosner is Ronald H. Lauterstein Professor of Sociomedical Sciences History at Columbia
             University and Co-Director of the Center for the History of Public Health at Columbia's Mailman
             School of Public Health. An elected member of the National Academy of Sciences' Institute of
             Medicine, he received his BA from CCNY, his MPH from the University of Massachusetts and
             his PhD from Harvard in the History of Science. Until moving to Columbia in 1998, he was
             University Distinguished Professor of History at the City University of New York. In addition to
             numerous grants, he has been a Guggenheim Fellow, a recipient of a Robert Wood Johnson
             Investigator Award, a National Endowment for the Humanities Fellow and a Josiah Macy Fellow.
             He has been awarded the Distinguished Scholar's Prize from the City University, the Viseltear
             Prize for Outstanding Work in the History of Public Health from the APHA and the Distinguished
             Alumnus Award from the University of Massachusetts. He has also been honored at the Awards
             Dinner of the New York Committee on Occupational Safety and Health and he and Gerald
             Markowitz have been awarded the Upton Sinclair Memorial Lectureship "For Outstanding
             Occupational Health, Safety, and Environmental Journalism by the American Industrial Hygiene
             Association." He is author and editor of eleven books including A Once Charitable Enterprise
             (Cambridge University Press, 1982, 2004; Princeton University Press, 1987), "Hives of
             Sickness," Epidemics and Public Health in New York City (Rutgers University Press, 1995), and
             Health Care in America: Essays in Social History (with Susan Reverby). In addition, he has co-
             authored and edited with Gerald Markowitz numerous books and articles, including Deadly Dust:
             Silicosis and the Politics of Occupational Disease in Twentieth Century America, (Princeton
             University Press, 1991;1994; University of Michigan, 2005), Children, Race, and Power: Kenneth
             and Mamie Clarks' Northside Center, (University Press of Virginia, 1996; Routledge Press,
             2001); Dying for Work, (Indiana University Press, 1987) and "Slaves of the Depression,"
             Workers' Letters About Life on the Job, (Cornell University Press, 1987). He and Gerald
                                                              2




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             Markowitz have authored Deceit and Denial: The Deadly Politics of Industrial Pollution
             (University of California Press/Milbank, 2002) and Are We Ready? Public Health Since 9/11
             (University of California Press/ Milbank , 2006). In 2008 he edited The Contested Boundaries of
             Public Health, (with James Colgrove and Gerald Markowitz) from Rutgers University Press in
             2008. His newest book (with Gerald Markowitz), titled Lead Wars, (University of California
             Press, forthcoming) details the recent conflicts at Johns Hopkins over studies of children placed in
             homes with low level lead exposure.

             Gerald Markowitz, PhD is University Distinguished Professor of History at the John Jay Colelge
             and the City University Graduate Center of the City University of New York. At CUNY he is also
             on the faculty of the PhD Program in Public Health. He is also Adjunct Professor of Sociomedical
             Sciences at Columbia University's Mailman School of Public Health. He received his BA from
             Earlham College and his MA and PhD from the University of Wisconsin. He is the recipient of a
             Robert Wood Johnson Investigator Award, a National Endowment for the Humanities Research
             Grant two grants from the National Science Foundation and others from the Milbank Memorial
             Fund. He has been awarded the Viseltear Prize for Outstanding Work in the History of Public
             Health from the APHA. He has also been honored at the Awards Dinner of the New York
             Committee on Occupational Safety and Health and he and David Rosner have been awarded the
             Upton Sinclair Memorial Lectureship "For Outstanding Occupational Health, Safety, and
             Environmental Journalism by the American Industrial Hygiene Association. He is author and
             editor of eleven books including, with David Rosner, Deadly Dust: Silicosis and the Politics of
             Occupational Disease in Twentieth Century America, (Princeton University Press, 1991;1994;
             University of Michigan, 2005), Children, Race, and Power: Kenneth and Mamie Clarks'               •
             Northside Center, (University Press of Virginia, 1996; Routledge Press, 2001); Dying for Work,
             (Indiana University Press, 1987) and "Slaves of the Depression," Workers' Letters About Life
             on the Job, (Cornell University Press, 1987), Deceit and Denial: The Deadly Politics of Industrial
             Pollution (University of California Press/Milbank, 2002) and Are We Ready? Public Health Since
             9/11 (University of California Press/ Milbank , 2006). In 2008 he edited The Contested
             Boundaries of Public Health, (with James Colgrove and David Rosner) from Rutgers University
             Press in 2008.His newest book (with David Rosner), titled Lead Wars, (University of California
             Press, forthcoming) details the recent conflicts at Johns Hopkins over studies of children placed in
             homes with low level lead exposure.

             Our qualifications are more fully laid out in Exhibits A and B which contain our CVs.




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               Opinions and Bases for Opinions



               Our opinions to a reasonable degree of certainty are:

                  1. In the early 1900s it was known that breathing asbestos dust was hazardous and by 1930 it
                     was well recognized.
                  2. Beginning in the 1930s there was a suspected link between breathing asbestos dust and
                     cancer and by the mid-1940s it was acknowledged by many medical researchers. It was
                     confirmed by the epidemiological studies of Sir Richard Doll and by publications in
                     JAMA and elsewhere by1955.
                  3. It was known in the early 1900s through the 1930s and 1940s that the people at risk were
                     the people inhaling asbestos.


               The bases for these opinions are expressed below. We have reviewed and relied upon the
               references cited throughout this report as well as those contained in Appendix C, the Annotated
               Bibliography.

               We reserve the right to supplement this report upon review of additional information or if asked
               to answer other questions.



                      There is an enormous literature that documents the relationship between asbestos exposure

               and disease. While some have traced this knowledge back to the ancients, the modern literature

               can be safely said to date to the beginning of the last century. Factory reports in England from the

               first decade of the 20th century note the poor health of weavers and others in manufacturing

               establishments using asbestos fibers. By the teens insurance industry statisticians noted the high

               mortality of these workers and in the late 1920s and early 1930s the medical community became

               acutely aware of clinical reports and major studies of asbestos workers who suffered what became

               known as asbestosis. By this time it was known that workers other than those directly handling
 1.
               asbestos were at risk for asbestosis. Bystanders and others who breathed dust containing asbestos
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             fibers also contracted the disease. Methods for reducing the risk of asbestos disease, including

             educating the workers and industrial engineering controls, were known. By the middle of the

             Depression exposure to asbestos was reported to be associated with lung cancer risks and by the .

             mid- to- late 1940s this association was confirmed by many case studies that appeared in the

             medical literature and by reports in medical texts that.made the link explicit. By the mid-1950s

             epidemiological studies confirmed this relationship.

                     While lung cancer was the first of the tumors associated with asbestos exposure other,

             rarer tumors in other parts of the body began to be identified in the 1950s and 1960s. By the mid

             1960s mesotheliomas were identified and confirmed in many case reports and surveys of workers

             and by-standers. The range of diseases and cancers associated with asbestos exposure were widely

             acknowledged and documented by the 1960s.

                    Asbestos-related diseases in the early 1900s were rooted in work and factory production in

             the growing industrial economies of Britain, the United States and other industrial societies. In

             this new industrial environment where large portions of the workforce were now working indoors,

             in pits or underground, in jobs that entailed blasting, drilling, carding, weaving, cutting, and other

             dust-producing processes, medical researchers and clinicians, insurance actuaries and government

             officials observed that these dusts endangered the workforce. The variety of lung conditions

             produced by the "dusty trades" as they became known were called the "pneumoconioses," i.e.

             dust-diseases of the lungs, and were all characterized by shortness of breath (dyspnea), long

             latency periods, irreversible symptoms and increasingly severe disability often resulting in death

             years or decades after exposure. Initially, the major focus was on silica dusts produced in the

             sandblasting, mining, granite cutting, foundry and construction trades. Silica dust produced an
                                                              5




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             unusual disease of the lungs, silicosis, which appeared years — even decades — after exposure and,

             provided the medical and research community a new model of chronic lung disease.

                     In 1898 the Annual Report of the Chief Inspector of Factories and Workshops in Britain

             noted "the evil effects of asbestos dust" in her examination of the "dusty occupations." It stood

             out "on account of their easily demonstrated danger to the health of the workers, and because of

             the ascertained cases of injury to bronchial tubes and lungs medically attributed to the

             employment of the sufferers." The Lady Inspector singled out "asbestos sifting and carding, silk

             opening" and noted that there were few precautions taken "to subdue the dust [and] no sort of

             ventilation being applied." The link between inadequate ventilation, unsafe working conditions

             and dust were henceforth identified as of particular concern. In this early report the dangers from

             asbestos dust were ascribed to "the sharp, glass-like jagged nature of the particles [which when

             they] remain suspended in the air of a room, in any quantity ... have been found to be injurious,

             as might have been expected.9)1 The following year the Inspectors noted that the "jacketing for

             pipes, involving use of asbestos" was injurious to the workforce.2 Also in the early century these

             factory inspectors suggested that the prevention of disease could be attained by improved

             ventilation and engineering controls.3              In Britain, the most distinguished medical personnel

             remarked that asbestos had been identified as dangerous by ancient cultures.4 The first clinical

             case of asbestos disease was documented in 1907 Dr. H. Montague Murray who reported on a 33


               Report of the Lady Inspectors, Annual Report of the Chief Inspector of Factories and Workshops for the Year 1898,
             "Part II — Reports," London, 1899, pp. 171-172.
             2 Report of the Lady Inspectors, Annual Report of the Chief Inspector of Factories and Workshops for the Year 1899,
             London, f19001, p.264.
             3 Great Britain Factory Department, Lady Inspectors, Annual Report of the Chief inspector of Factories and
             Workshops for the Year, 1906, London, His Majesty's Stationary Office, 1907, p. 220.

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             year old carding room worker who had developed fibrosis of the lungs.5 In the second decade of

             the twentieth century the Labour Department in Canada investigated "the health of those

             employed in the asbestos industry." They cited "One of the oldest medical practitioners in

             Thetford [who] expressed the view that the asbestos dust floating in the atmosphere of the

             cobbing room had a weakening effect on the lungs of those employed." They suggested the use of

             engineering controls and respirators to keep the dust down.6

                      The British studies and reports on the dangers of asbestos dust were widely available in

             the United States when H.K. Pancoast, T.G. Miller and H.R.M. Landis published the first

             "Roentgenologic Study of the Effects of Dust Inhalation Upon the Lungs," in the Transactions of

             the Association of American Physicians in 1917. In the discussion of their oral presentation at the .1.

             meeting a Dr. Kober said, that "persons exposed to the habitual inhalation of dust, sooner or later

             would develop some chronic inflammation of the respiratory system."7

                     The dangers from asbestos were well documented by Frederick Hoffman, the Vice

             President and actuary of the Prudential Life Insurance company in a major report produced in

             1918 for the U.S. Bureau of Labor Statistics on "Mortality from Respiratory Disease in Dusty

             Trades (Inorganic Dusts)." This report detailed the variety of mineral dusts that potentially posed

             a threat to the workforce and gathered the existing statistics from the Prudential records of                        I

             mortality. He remarked on the variety of occupational groups that were at risk of asbestos disease



             4 Oliver, Thomas, Dangerous Trades, New York: E.P. Dutton, 1902, p.25.
             5
               Murray, H. Montague, MD., "Report of the Departmental Committee On Compensation for Industrial Diseases,"
             HMSO, Cd. 3495, p. 14; Cd. 3496, Minutes of Evidence, p. 127.
             6 "Effects of Asbestos Dust on Workers' Health in Asbestos Mines and Factories," Labour Gazette (Can.), 12 (1912),
             761-762.

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             including workers who covered pipes, furnaces, plastered walls, used asbestos in roofing,

             insulated electrical equipment, and engaged in the construction of storage rooms of refrigerating

             plants.8 Asbestos workers were seen by the insurance industry as being at particular risk for early

             death and thus it was "the practice of American and Canadian life insurance companies [that]

             asbestos workers are generally declined on account of the assumed health-injurious conditions of

             the industry."9 Hoffman quoted from the 1910 Annual Report of Chief Inspector of Factories and

             Workshops, which included a report by Collis on the asbestos industry that stressed the need for

             dust protection for the workforce because of the deaths of asbestos workers. Hoffman also quoted

             Collis who noted that it was not only those who directly produced asbestos dust who were at risk

             of disease but also by-standers in the vicinity: "Women who sew the mattresses into sections with

             asbestos threads worked close to the man who beat the mattresses and of necessity inhaled the

             dust."10 Hoffman concluded that there was an "urgent need for extensive investigation of health

             effects of asbestos manufacture."

                      In the same year of Hoffman's study academic medical researchers began to perform more

             sophisticated surveys of the workforce, using the new technology of the x-ray to identify

             pathological changes in the lungs of workers exposed to dusts, including asbestos. Pancoast and



             7. Pancoast,H.K., T.G. Miller, and H.R.M. Landis, "A Roentgenologic Study of the Effects of Dust Inhalation upon
             the Lungs," Transactions of the Association of American Physicians, 32 (1917), 97-108.
             8 Hoffrnan, F. L. "Mortality from Respiratory Disease in Dusty Trades (Inorganic Dusts)," Bulletin, U.S. Bureau of
             Labor Statistics, #231, U.S. Bureau of labor, Washington DC, pp. 176-180, 1918.
             9 Hoffman, F. L. "Mortality from Respiratory Disease in Dusty Trades (Inorganic Dusts)," Bulletin, U.S. Bureau of
             Labor Statistics #231, U.S. Bureau of labor, Washington DC, p.178, 1918.
             I° Hoffman, F. L. "Mortality from Respiratory Disease in Dusty Trades (Inorganic Dusts)," Bulletin, U.S. Bureau of
             Labor Statistics, #231, U.S. Bureau of labor, Washington DC, p.179, 1918.
              'Hoffman, F. L. "Mortality from Respiratory Disease in Dusty Trades (Inorganic Dusts)," Bulletin, U.S. Bureau of
             Labor Statistics, #231, U.S. Bureau of labor, Washington DC, p.180, 1918.

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             his colleagues published a survey of 137 workers including 15 asbestos workers. They described

             the three stages of pneumoconiosis and noted that the second stage "is characterized by a more or

             less uniformly arranged mottling throughout the lung structure due to depositions of dust in the

             lymph structures, cells, and fibrous tissue interspaces, with the addition of a certain amount of

             localized fibrosis.... It occurs comparatively early in coal miners, cement workers and certain

             metal grinders, somewhat later in potters and asbestos workers...."12 Animal experiments reported

             in the British Medical Journal, an esteemed journal that was available internationally, confirmed

             that asbestos dust caused fibrosis. I3 More animal experiments would be performed in the coming

             years and decades."

                     Evidence accrued that documented the long latency of asbestos-related diseases. In 1925,

             Pancoast and his colleagues used the x-ray to show that of 17 asbestos workers, two "showed first

             stage changes and the other 15 definite second stage appearances." The men who had worked

             longest at their jobs (17 and 14 years) "showed very definite diffuse, 'soft' spots throughout both

             lungs and another showed about the same appearance after fourteen years' occupation. Very slight

             nodular shadows were found in one man after only two years' occupation."I5 Cooke and his co-

             investigators used microscopy to look at the cells of workers in an asbestos factory where "a very


             12
                Pancoast, Henry K., T. Grier Miller and Henry R.M. Landis, "A Roentogologic Study of the Effects of Dust Upon
             the Lungs," American Journal of Roentgenology, 5 (1918), 129, 136.
             13 Cooke, W. E. "Fibrosis of the Lungs Due to the Inhalation of Asbestos Dust," The British Medical Journal, 2, No.

             3317, (July 26, 1924), 147.
             14 Stewart, M. J., "Asbestosis Bodies in the Lungs of Guinea Pigs After three to Five Months Exposure in an

             Asbestos factory," Journal of Pathology and Bacteriology, 33 (1930), 848; Schuste, Norah, "Pulmonary Asbestosis in
             a Dog," Journal of Pathology and Bacteriology, 34 (1931), 751-757.
             15
                Pancoast, Henry K. and Eugene P Pendergrass, "A Review of our Present Knowledge of Pneumoconiosis based
             upon Roentgenologic Studies, with Notes on the Pathology of the Condition," The American Journal of
             Roentgenology and Radium Therapy, 14 (November 1925), 419-420. See also, Pancoast, Henry K. and Eugene P
             Pendergrass, Pneumoconiosis (Silicosis): A Roentgenological Study, New York: Paul B. Hoeber, Inc, 1926, p.155.

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             considerable amount of dust is generated." They concluded that asbestos dust produced a unique

             Pathology in the lungs of these workers and that they had "never seen anything parallel to this in

             pneumoconiosis due to other dusts...."16 This British research was reported on by the most widely

             distributed medical journal in the United States, the Journal of the American Medical Association,

             (JAMA), in an article titled "Pneumoconiosis Caused by Asbestos Dust."17 S. Roodhouse Gloyne,

             in an article titled, "The Presence of the Asbestos Fibre in the Lesions of Asbestos Workers,"

             remarked that the term "asbestos bodies" should replace the then-current term, "curious bodies"

             since it was clear that asbestos was the cause of the pathological change.18 Thomas Oliver's

             report on "Pulmonary Asbestosis in its Clinical Aspects," was published in the American Journal

             of Industrial Hygiene in 1927 (as well as in the British Medical Journal) and JAMA also reported

             On it.19

                        The attention to asbestosis continued to accrue in the American medical literature in the

             late 1920s. An editorial in the widely distributed JAMA remarked on Cooke's 1924 report, noting

             that "many other cases seem to have occurred" and that while they hoped that factory conditions

             were improving, "asbestosis, because it its dangers and its unique pathologic features, deserves


             16 Cooke, W. E. "Pulmonary Asbestosis," The British Medical Journal, 2, No. 3491, (December 3, 1927), 1024-25.

             See also, Cooke, W. E. and C, F. Hill, "Pneumokoniosis Due to Asbestos Dust," Journal of the Royal Microscopical
             Society, Series 3, Vol. 7 (1927), 232-238.
             17 "Pneumoconiosis Caused by Asbestos Dust," JAMA, 89 (July 23, 1927), 304.

             18 Gloyne, S. Roodhouse, "The Presence of the Asbestos Fibre in the Lesions of Asbestos Workers," Tubercle, June
             1929, 407. See, Stewart, M. J. and A.C. Haddow, "Demonstration of the Peculiar Bodies of Pulmonary Asbestosis
             ...." Journal of Pathology and Bacteriology, 32 (1929),172. See, for example, the references to "curious" or "peculiar"
             bodies, Cooke, W. E., and C.F. Hill, "Further Observations on Pulmonary Asbestosis, with Special Reference to
             Asbestos Dust and the Curious Bodies Found in the Lungs," Journal of the Royal Microscopical Society, Ser. 3,
             Volume 50 (1930), 15-19.
             19 Oliver, Thomas, "Pulmonary Asbestosis in its Clinical Aspects," Journal of Industrial Hygiene, (November 1927),

             483-485. (Also printed as "Clinical Aspects of Pulmonary Asbestosis," in The British Medical Journal, 2, No. 3491,
             (December 3, 1927), 1026-27. Also reported in JAMA, 89 (1927), 2285.

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             more attention than it has had."20 Cooke himself, in an article in the prestigious British Medical

             Journal noted that "Pulmonary asbestosis has become a question of international interest and

             importance.',21 In 1929, the British Medical Journal noted that asbestos had become such a

             significant problem in the.UK that the government was considering making it a compensable

             disease.22 Authors suspected that a "wider recognition of this disease" would lead to more cases

             being identified and that "the mortality statistics [would therefore] probably be swelled." The

             latency of this disease also made recognition difficult for it was usually first recognized more than

             five years following exposure.23 It was clear that asbestosis was a dread disease for which there

             was little treatment and no cure. As W. Burton Wood remarked in 1929, "when the diagnosis is

             established, the prognosis appears to be grave."24

                     By 1930 when the first clinical report of an asbestos victim was reported in the United

             States a huge literature had developed that documented the importance of asbestos as a cause of

             the pneumoconiosis, asbestosis. Asbestosis was documented by clinicians, by government

             inspectors and insurance officials, by researchers in university laboratories, by roentologists and

             pathologists, by editors of leading medical journals in both the United States and the UK and by

             industry executives themselves through their trade publications. It was even being considered for


             20 Editorial, "Pulmonary Asbestosis," Journal of the American Medical Association, 90 (2), (January 14, 1928), 119-
             20.
             21 Cooke,  W. E. "Pulmonary Asbestosis," The British Medical Journal, 2, No. 3534, (September 29, 1928), 585.
             Numerous case reports appeared in Europe and South Africa. See, for example, appendix for some of these and
             specifically, Simson, F. W., "Pulmonary Asbestosis in South Africa," The British Medical Journal, 1 (May 26, 1928),
             885-887 for reports as far away as South Africa and Lovisetto, Domenico, "Pulmonary Asbestosis," Records of the
             International Conference on Silicosis at Johannesburg, August 1930, No. 13, Geneva, International Labour Office.
             22 "Medical Notes in Parliament," The British Medical Journal, 2 (December 21, 1929), 1182.
             23 Haddow, A.C., "Clinical Aspects of Pulmonary Asbestosis," The British Medical Journal, 2, No. 3586, (September
             28, 1929), 580-581.
             24 Wood, W. Burton, "Pulmonary Asbestosis," Tubercle, 10 (May 1929), 356.



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            inclusion in workmen's compensation legislation in Britain. The first claim recorded in the United

            States was in 1927 in Massachusetts. 25

                    The first clinical reports in the United States were by Mills, Lynch and Smith, and Soper

            in 1930, the latter two in the national publications, JAMA and the American Review of

            Tuberculosis. In Mills' first paper published in a state medical society journal, Minnesota

            Medicine, he reflected on the growing attention to this disease in the United States during the

            1920s, although, he claimed, he was the first to document a case of what he called "an incurable

            disease." He opined that because "asbestos is mined or manufactured in many portions of this

            country," he was reporting the case "in the hope of arousing more widespread interest in the

            disease and establishing it as an entity with which American physicians surely will have to

            deal."26 Indeed, JAMA picked up on Mills' report bringing it to the attention of physicians all

            across the United States, pointing out that "asbestos is mined and manufactured in many parts of

            this country and that pulmonary asbestosis surely will be encountered."27

                    The scope of knowledge about the dangers from asbestos was captured in an authoritative

            epidemiological study of 363 asbestos textile workers, about a quarter of who showed signs and

            symptoms of fibrosis of the lungs in England. Organized by E.R.A. Merewether, the Medical

            Inspector of Factories and C.W. Price, the Engineering Inspector of Factories for the British



            2t5Lanza, A.J., "Asbestosis," JAMA, 106 (February 1, 1936), 368: "While Hoffman called attention to the possible
            harmfulness of asbestos dust in 1918, it was not until February 1927 that asbestosis was, so to speak, officially
            recognized in this country by the filing of a disability claim for workmen's compensation in Massachusetts."
            26 Mills, Ralph G. "Pulmonary Asbestosis: Report of a Case," Minnesota Medicine, 13 (July 1930), 495 - 499. See
            also, Soper, Willard, "Pulmonary Asbestosis," American Review of Tuberculosis, 22 (1930) 571-584 and Lynch,
            Kenneth M. And W. Atmar Smith, "Asbestos Bodies in Sputum and Lung," JAMA, 95 (August 30, 1930), 659-661
            and Lynch, Kenneth M. And W. Atmar Smith, "Pulmonary Asbestosis II: Including the Report of a Pure Case,"
            American Review of Tuberculosis, 23 (1931), 643 -660.

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             government, the report synthesized the huge literature that had developed over the previous

             decades. Citing the U.S. British, South African, French, Italian and German literature, it laid out

             the broad dimensions of the problem not just in the textile industry but in a broad range of other

             industries as well. The dangerous trades they identified included paper manufacturing, tile

             manufacturing, the production of insulation materials, the use of asbestos in brake and clutch

             linings, and its use as a sheathing for electrical conductors, cables and wiring. The scope of the

             problem led them to conclude "that the inhalation of asbestos dust over a period of years results in

             the development of a serious type of fibrosis of the lungs." They also identified various

             engineering controls that were necessary for the suppression of dust in industry. 28 In his report he.l.

             notes that among the "preventive measures" should be educating the worker "to a sane

             appreciation of the risk."29 Merewether also reported on his work in the United States publishing .

             that same year in the Journal of Industrial Hygiene."

                      Cross-sectional epidemiological studies were also initiated at the same time by American

             investigators. Between 1929 and 1931, A.J. Lanza and his colleagues at Metropolitan Life

             Insurance Company performed a study of Canadian asbestos miners and fabricators in both


             27 "Pulmonary Asbestosis," JAMA, 95 (November 8, 1930), 1431.
             28 Merewether, E.R.A., and C.W. Price, Report on Effects of Asbestos Dust on the Lungs and Dust Suppression in the
             Asbestos Industry, London, Her majesty's Stationary Office, 1930. A few years later, Merewether was even more
             explicit: asbestos was used in "a vast number of articles, ranging from matches to filter pads, from paints to roofing
             tiles, from high pressure jointing to electrodes, and from brake-linings to insulating materials in great variety. The
             phenomenal expansion of the motor car industry in the past twenty years has caused a corresponding increase in the
             demand for asbestos fabric brake linings, asbestos composition clutch rings, and latterly of moulded asbestos brake
             linings. Many other examples will come to mind." See: Merewether, E. R. A., "A Memorandum on Asbestosis,"
             Tubercle, 15 (November, December, 1933 and January 1934) 69-81; 109-118; 152-159 at 71.
             29
                Merewether, E.R.A., and C.W. Price, Report on Effects of Asbestos Dust on the Lungs and Dust Suppression in the
             Asbestos Industry, London, Her majesty's Stationary Office, 1930, p. 17.
             3° Merewether, E.R.A., "The Occurrence of Pulmonary Fibrosis and other Pulmonary Affections in Asbestos
             Workers," Journal of Industrial Hygiene, 12 (May 1930), 198 - 222.

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             Canada and the U.S. for the asbestos industry which they published in 1935. They found that the

             longer a worker was exposed to asbestos the greater the chance that his or her X-ray would show

             that "prolonged exposure to asbestos dust caused a pulmonary fibrosis of a type different from

             silicosis."3'

                         The widespread acknowledgement of the dangers of asbestos can be gleaned from the fact'

             that in 1930 alone there were reports about asbestos disease by the International Labor

             Organization, the Monthly Labor Review, the Canadian Public Health Journal, the British

             Medical Journal, The Lancet as well as in other medical journals and at an international
             eonference (see appendix C).32

                         The concern with asbestos disease in the United States corresponded to the growth in the

             Uses of asbestos in a wide variety of industries. Production increased dramatically in the United

             States in the first three decades of the twentieth century from "96,490 tons in 1910 to 434,938

             tons in 1929."33 Henry Pancoast and Eugene P. Pendergrass pointed out, in their review of the



             31 Lanza, A. J., William J. McConnell, and J. William Fehnel, "Effects of the Inhalation of Asbestos Dust on the
             Lungs of Asbestos Workers," Public Health Reports, 50 (January 4, 1935), 1- 12. See also Page, Robert C. "A Study
             of the Sputum in Pulmonary Asbestosis," American Journal of Medical Science, 189 (1935), 44-55. Here the authors
             point out the short length of time necessary for the appearance of the disease: "The length of exposure to dust has
             varied within wide limits, but it is clear that gross disease may follow even as short an exposure as 18 months,
             provided the dust concentration has been sufficiently high."
             32 See for examples: Occupation and Health: Encyclopedia of Hygiene. Pathology and Social Work, Geneva:
             International Labour Organizations, 1930, pp. 189-191; International Labour Office, Studies and Reports, Series F
             (Industrial Hygiene), No. 13, "Silicosis: Records of the International Conference Held at Johannesburg, 13-27 August
             1930," Geneva, 1930, p.27; "Pulmonary Asbestosis," Monthly Labor Review, July 1930, pp. 74- 76; Pedley, Frank
             6., "Asbestosis," Canadian Public Health Journal, 21 (1930), 576-577; "Pulmonary Asbestosis," Asbestos: A
             Monthly Market Journal Devoted to the Interests of the Asbestos and Magnesia Industries, 11 (March 1930), 20;
             "Pulmonary Asbestosis," The Lancet, April 19, 1930, pp. 870-871.
             33 Egbert, Dan S., "Pulmonary Asbestosis," American Review of Tuberculosis, 31 (1935), 25-34 at p.25. See also, for
             uses: "Memorandum on the Industrial Diseases of Silicosis and Asbestosis," London, His Majesty's Stationary
             Office, 1932: The processes and industries included among others: "crushing, opening of crude asbestos, blowing,
             mixing and carding of it"; "making insulating mattresses and slabs or sections composed wholly or partly of

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             field in 1931, the long latency and high incidence that characterized this chronic disease: "As the

             number of years at work grows for a worker, they show fibrosis. For those working 20 years and

             over 80.9% showed fibrosis." They also pointed out the tragic consequences of prolonged

             cxposure without respiratory protection: "Prognosis in pulmonary asbestosis among factory

             workers is to be regarded as grave without adequate protection...."34 The growing documentation

             of asbestosis in the early 1930s led observers to remark on the difficulty of keeping up with the

             literature. One observer in the Lancet remarked on this phenomenon: "During the past two or

             three years observations on the asbestosis body have been published with such frequency that it is

             very difficult to keep track of them all."35 The growing attention to the pneumoconioses in

             general and the documentation of asbestosis in the medical literature led industry to sponsor

             research at the prestigious Saranac Laboratory in upstate New York. Leroy Gardner and Donald

             Cummings began their toxicological, inhalation and animal studies of asbestosis in January, 1928

             and because "so much interest has recently been manifested in the subject of asbestosis, a

             preliminary report [was] submitted" in 1930. They concluded, "The physical and chemical

             properties of asbestos are so unlike those of any other dust previously studied that, when inhaled;



             asbestos;" "the sawing, grinding and turning in the dry state of articles composed wholly or partly of asbestos such as
             motor car brake and clutch linings, electric conductors and packings and jointings."
             34
                Pancoast, Henry K. And Eugene P. Pendergrass, "A Review of Pneumoconiosis: Further Roentgenological and
             Pathological Studies," American Journal of Roentgenology and Radium Therapy, 26 ( October 1931), 556-614 at pp.
             585, 588, 592-593.
             35 Gloyne, S. Roodhouse, "The Asbestosis Body," The Lancet, 2 (1932), 1351. See also, Simson, F.W., and A.
             Sutherland Strachan, "Asbestosis Bodies in the Sputum: A Study of Specimens from Fifty Workers in an Asbestos
             Mill," The Journal of Pathology and Bacteriology, 34 (1931), 1-4. In this survey "asbestos bodies.., were present [in
             the sputum] in 48 out of 50 workers examined." Editorial, "German Work on Pulmonary Asbestosis," The Lancet, 1
             (July 9, 1932), 93: "The statistical tables appear to indicate that moderately severe asbestosis takes some five years to
             develop, while none of the workers examined who had had ten years or more exposure was free from the signs of the
             disease."

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              particles of this substance provoke an unusual type of reaction in the lung."36 During this period

              research increased on the biological mechanisms by which asbestos created fibrosis in the lungs

              (see appendix C). Also, during this period recognition that the lungs were not the only organ

              affected by asbestos began to accrue. Medical literature showed that organs far from the site of

              primary contact ended up diseased by asbestos: "In asbestosis the lung is not the only organ

              invaded by asbestosis bodies. As we have shown, the spleen and the lymph nodes may harbor

If            large asbestosis bodies."37 Industrial engineering journals recognized the potential hazards of dust

              and asbestos specifically pointing out that "Asbestos and every operation in which it is used" is

               seriously harmful."38 These uses were expanding. The asbestos industry in Pennsylvania, for

              example, "consists mainly of several fabricating plants engaged in the making of asbestos cloth,

              brake lining, insulating tape, asbestos rope and wick, and other miscellaneous products." It was

              also used in textiles, weaving, gasket making as well as insulation in steam pipes, asbestos

              Cements, shingles, lumber, molded fittings, and household appliances.39 In England, by 1932,

              asbestosis was included as a compensable disease° as it was in Wisconsin for a worker whose

              "occupation was that of cleaning and restoring the asbestos on pipes."41


              36  Gardner, Leroy U. And Donald E. Cummings, "Studies on Experimental Pneumonokoniosis. VI. Inhalation of
              Asbestos Dust: Its Effect upon Primary Tuberculosis Infection," Journal of Industrial Hygiene, 13 (February 1931),
              65 - 81. Conclusion — J1H 13 (March 1931), 97— 114 at pp. 65 and 103.
              37 Stewart, Harold L. and Carl J. Bucher, "Asbestosis: Report of Two Cases," Archives of Pathology, 12 (1931), 909-
              916 at p. 916.
              38 Willson, Frederick, "The Very Least an Employer Should Know About Dust and Fume Diseases," Safety
              Engineering 62 (November 1931), 317-318.
              39, William S. Fulton, "Asbestosis," Pennsylvania, Bureau of Industrial Standards, Department of Labor and Industry,
              1935.
               .
              40 "Memorandum on the Industrial Diseases of Silicosis and Asbestosis," London, His Majesty's Stationary Office,
              1932.
              41 "Effects of Dusts Upon the Respiratory System," Industrial Commission of Wisconsin, Proceedings of a
              Conference, Chicago, Nov. 16-17, 1932, p. 180.

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                     By 1932 while there was uncertainty as to the hazards of many mineral and organic dusts,

             silica and asbestos were singled out as the two about which there was no question. For example,

             Advisory Committee on Employment of Minors in Hazardous Occupations issued a report in

             Monthly Labor Review, the U.S. Department of Labor's official publication, "that Minors under

             the age of 18 [should] be excluded [from] occupations involving exposure to free silica dust,

             asbestos dust, or other dusts in injurious quantities."42 In addition, an article in Industrial

             Medicine cited one author who noted that "aside from silicosis and asbestosis, exact knowledge is

             not possessed on other dust diseases of the lungs."'" Alice Hamilton, among the leading figures in

             occupational medicine, also highlighted the singular importance of the diseases silicosis and

             asbestosis in her summary of the activities of the Industrial Hygiene Section of the APHA:

             "Problems presented by industrial dusts are probably the most absorbing and important, and these

             particularly revolve around silicosis and asbestosis."44

                     The medical, engineering, and social dimensions of asbestosis were well recognized by

             the early 1930s. C.O. Sappington captured the multidimensional nature of the problem thusly:

             "Asbestosis bodies are demonstrable in the sputum, in the lung tissue, and more recently, have

             been found in the lymph nodes and the spleen. The treatment of asbestosis apparently has been as

             unsuccessful as that of silicosis. It is believed that removal from exposure does not impede the

             progress of the disease, when once it is fully established. Prevention depends upon the same




             42 "Child Labor: Report of Advisory Committee on Employment of Minors in Hazardous Occupations, Monthly
             Labor Review, 35 (1932), 1319.
             43 "Silicosis and other Dust Diseases," Industrial Medicine, 1 (November 1932), p. 95.
             " "Review of Present Status," Industrial Medicine, 1 (November 1932), 108

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             procedures as in silicosis, with the added recommendation that mechanical devices be substituted

             for dusty hand work and that wet methods be used instead of dry."45

                     Industry, insurance, and government agencies were aware of this problem. The "Konicide

             Club" (Killer Dust Club) was composed of leading industrial hygienists and researchers
             ‘,
             concerned with the growing crisis over silicosis and pneumoconiosis in general. While "the

             liability crisis"46 around silicosis spurred its development, asbestosis also was a concern. At its

             1933 meeting Leroy Gardner of Saranac Laboratory "spoke briefly on 'What is Known About

             Asbestosis,' an early contribution to a subject that looms so large today in the occupational health

             field."47 By 1935 industry formed the Air Hygiene (later Industrial Hygiene Foundation). At its

             founding meeting of some 200 representatives of the "dusty trades" formed committees, one of

             which was to look specifically at asbestos, cork and non-metallic dusts.48 A representative of the

             Johns Manville Corporation, Vandiver Brown, was one of seven people nominated for the

             Temporary Organization Committee. In his report about the meeting to another asbestos

             company, Brown noted that "only two forms of dust, namely, free silica and asbestos, are

             definitely known to produce disabling fibrosis of the lung."49




             45  Sappington, C.O., "Silicosis and Other Dust Diseases," Industrial Medicine, 1 (December 1932), 158-68
             46  Beyer, David S. ,The Mechanical Control of occupational Diseases," National Safety News, August 1933. 21-22,
             14: "an analysis of approximately $300,000 in losses of one insurance company doing a general workmen's
             compensation and liability business, for recent industrial disease claims, showing 54 per cent for cases involving
             ?neumoconiosis (including silicosis, asbestosis, etc.) ...."
              ,7 Hatch, Theodore F. and Eugene P. Pendergrass, "The Konicide Club (1932-1940), Journal of Occupational
             Medicine, 19 (May 1977), 352.
             48
                 Symposium on Dust Problems held at Pittsburgh, PA, January 15, 1935. "A Brief Outline of the Events leading up
             to and occurring at the 'Symposium on Dust Problems' held in Pittsburgh, Pa., January 15, 1935.
             4,? Brown to M.F. Judd, Secretary Raybestos-Manhattan, Inc, Bridgeport, Ct, January 22, 1935.



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                      By the mid-1930s, asbestos was used in a wide variety of products, exposing workers, by-

             standers, and others to its ill-effects. One author noted, "the asbestos industry has had a

             remarkably rapid expansion and by reason of the widespread and varied uses of this products

             which include 'matches, filter pads, paints, roofing, high pressure jointing, electrodes, brake

             linings, clutch rings, and insulating material in a great variety." The industry "occupies an

             important, increasing, and permanent place in our economic establishment."50 With this

             developing knowledge of the dangers of asbestos came attempts to define means of protecting the

             workforce. In the mid-to-late 1930s authors suggested levels of exposure to asbestos that could be

             "thresholds" of danger, above which harm was likely to occur. Dreesen and his colleagues, in a

             report for the U.S. Public Health Service in 1938, suggested that workers not be exposed to more

             than 5 million particles of asbestos per cubic foot (mppcf). He argued that workers breathing in

             asbestos dust resulted in the "initiation of fine, interstitial, pulmonary fibrosis" whose symptoms

             were dyspnea, variable cough "which sometimes raises blood streaked sputum and loss of

             weight."51 Despite the quantification of this exposure limit Warren Cook, an industrial hygienist

             for Zurich General Accident and Liability Insurance Company observed that the "toxic limit for

             asbestos is five million particles of dust per cubic foot of air." But he pointed out that "this is a

             very small concentration, so small in fact that the condition may look good even to a critical eye

             and still present an exposure greater than this low limit." Thus, if asbestos dust in the air was


             Merewether, E. R. A., "A Memorandum on Asbestosis," Tubercle, 15 (November, December, 1933 and January
             1934) 69-81; 109-118; 152-159.
             50
                McPheeters, S.B., "A Survey of a Group of Employees Exposed to Asbestos Dust," Journal of Industrial Hygiene
             and Toxicology, 18 (April 1936), 229 -239 at p. 229.
             51 Dreessen, W.C., et al., "A Study of Asbestosis in the Asbestos Textile Industry," Public Health Bulletin No. 241,
             August 1938. See also, Sayers, R.R., and W.C. Dreessen, "Asbestosis," American Journal of Public Health, 29

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             visible, it was clearly above the threshold. 52 The American Conference of Governmental

             Industrial Hygienists adopted this 5 mppcf threshold.53

                     Researchers had always showed interest in the relationship of asbestosis to other lung

             diseases such as silicosis and tuberculosis. But, by the early 1930s, it was established that

             asbestosis alone was a serious disease that slowly killed its victims. In the mid-1930s troubling

             observations that some asbestos victims appeared on autopsy to also suffer from cancer of the

             lung arose. In 1934, a British study of one hundred workers exposed to asbestos for between six,

             months and 15 years, fifty three of whom (thirty-four women and nineteen men) had asbestosis,

             revealed that two of the asbestos victims also had carcinoma of the lung and one had "a few

             deposits of growth in the pleura."54 The issue of the relationship between cancer and asbestos

             exposure was "still an open question" which would occupy researchers for much of the next

             decade.55 In 1935, researchers in the United States began to look seriously at the relationship.

             Kenneth Lynch and W. Atmar Smith reported in the American Journal of Cancer on a weaver in

             an asbestos factory who died from "pulmonary asbestosis with associated carcinoma of the lung."

             The authors considered that it was "worthy of record in the interest of both diseases, as well as

             their possible relationship."56 Anthony Lanza of Metropolitan Life reviewed the insurance

             company's files and observed that of six asbestosis victims confirmed on autopsy, one had




             (March 1939), 205-214; National Safety Council, "Industrial Dust," Health Practices Pamphlet No. 4, 1939.
             52 Warren A. Cook, "The Occupational Disease Hazard," Industrial Medicine, 11(April, 1942), p.194.
             53 "Threshold Limit Values for 1955," adopted by ACGIH Public Health Reports, 71(February, 1956), 201-203.
             54 Wood, W. Burton, and S. Roodhouse Gloyne, "Pulmonary Asbestosis: A Review of One Hundred Cases," The
             Lancet, 2 (December 22, 1934), 1383-85.
             55 Gloyne, S. Roodhouse, "Two Cases of Squamous Carcinoma of the Lung Occurring in Asbestosis," Tubercle 17
             (October 1935), 5-10.

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             carcinoma. 57 That same year, 1936, Dan Egbert and Arthur Geiger specifically addressed the

             possible relationship of cancer and asbestosis in an article in the American Review of

             Tuberculosis. They believed that their report on a Hungarian immigrant weaver in an asbestos

             factory was "especially interesting since it is apparently the first to describe primary carcinoma of

             the lung as an associated condition." They argued "that the irritating effects of the inhaled

             asbestos particles may in this case have been a significant factor concerned in the development of

             the primary lung cancer seems sufficiently plausible to be worthy of consideration."58 Gloyne,

             who had published the first piece linking asbestos and cancer in 1935, followed up this article

             with another case of "an oat cell carcinoma" a year later.59 In the late 1930s, reports began to cite-.

             this early literature, bringing attention to a possible relationship. 60 In 1938 the issue was of

             enough concern that A.J. Vorwald, who would become the director of Laboratories at Saranac

             Laboratories, conducted a study of "Postmortem examination of 3739 individuals exposed to dust,

             as compiled from the literature and from our own series" which "revealed 30 individuals with

             pulmonary carcinoma, or an incidence of 0.8 per cent." He concluded at the time that "this

             incidence [was] lower than that reported in routine autopsy examinations of the general

             populations" leading him to conclude that "Inhaled dusts, therefore, except those containing

             recognized carcinogenic substances such as radium and tar, cannot in general be considered as


             56
                Lynch, Kenneth M. and W. Atmar Smith, "Pulmonary Asbestosis III: Carcinoma of Lung in Asbesto-Silicosis,"
             American Journal of Cancer, 24 (1935), 56-64.
             57 Lanza, A.J., "Asbestosis," JAMA, 106 (February 1, 1936), 368-69.
             58 Egbert, Dan S. and Arthur J. Geiger," Pulmonary 'Asbestosis and Carcinoma," American Review of Tuberculosis,
             34 (1936), 143- 150.
                Gloyne, S. Roodhouse, "A Case of Oat Cell Carcinoma of the Lung Occurring in Asbestosis," Tubercle, 18
             (December 1936), 100-101.
             60 Anderson, C.S. and J. Henry Dible, "Silicosis and Carcinoma of the Lung," Journal of Hygiene, 38 (1938), 185-



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             etiological factors in the development of primary pulmonary carcinoma."61 JAMA reported on

             Vorwald's study and results.62 The International Labor Organization (ILO) was more cautious in

             its interpretation of this limited evidence. It noted that exposure to asbestos was shown to result in

             "four main complications" -- bronchitis, pneumonia, TB, emphysema — but also to two others

             "which are less common" including carcinoma. In 1938 "the number of cases ... described [was].
                                                                                                                •.
             small and it [was] not yet established that there is any aetiological connection between the two
             .1
             diseases," yet there was "sufficient evidence to warrant careful observation in the figure."63 The

             ILO warned that "a practical maxim of the greatest value is that every translation of fiberised

             asbestos in the factory produces dust which, if not controlled, is dangerous." 64 J.V. Sparks picked

             tip on Gloyne's research and published in the British Journal of Radiology. This was, in turn,

             reported on in the American Journal of Industrial Hygiene and Toxicology in 1939 where
             •

             industrial physicians and hygienists learned that among the chief complications of pulmonary

             asbestosis was carcinoma.65

                     Between 1938 and 1942 there were at least six additional articles reported in the American

             and British literature about the relationship of asbestos and cancer. Some of these were reports or

             abstracts of German-language studies, including a 1938 article by Nordmann who reported on the


             204.
             61 Vorwald, Arthur J. And John W. Karr, "Pneumoconiosis and Pulmonary Carcinoma," American Journal of
             Pathology, 14 (January 1938), 49-58. He also exposed 3,338 animals to various dusts and found a lower-than-
             expected carcinoma rate.
             62 "Pneumoconiosis and Pulmonary Carcinoma," JAMA, 110 (June 18, 1938), 2068.
             63 International Labour Office, Occupation and Health: Encyclopedia of Hygiene, Pathology and Social welfare,"
             ILO, 1938, pp.9-10.
             64 International Labour Office, Occupation and Health: Encyclopedia of Hygiene, Pathology and Social welfare,"
             ILO, 1938, p.14.
             65 Sparks, J.V. "Asbestosis," British Journal of Radiology, 11 (June. 1938), 371 - 377. Reported in Journal of
             Industrial Hygiene and Toxicology, 21 (1939), 54.

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             high number of cancers revealed on autopsy of workers who had asbestosis.66 American

             researchers Lynch and Smith cited Nordmann and others as providing further documentation of

             the link between asbestos, asbestosis and cancer. They reported on another case but

             acknowledged that the evidence-base was too small to establish a causal relationship. By 1939

             there were a total of eight documented cases linking asbestos to lung cancer.67 By 1942 the

             number of reported cases had increased to ten and that inhalation of asbestos caused "irreparable

             damage" even in workers employed for long periods of time where "exposure to asbestos dust

             was relatively low."68

                      Wilhelm Hueper, the eminent student of industrial disease, published the classic,

             comprehensive study of Occupational Tumors and Allied Diseases in 1942, noting the growing

             number of case reports in England, Germany and the United States. In this massive tome Hueper

             lays out the basis for connecting lung cancer deaths to exposure to asbestos at the workplace.

             First, he noted that the "incidence of lung cancer in asbestosis of the lung ... is definitely

             excessive." Second, "the young age of an appreciable portion of the cases ... and the relationship

             existing between the time of exposure to asbestos dust and the manifestation of the neoplasms"

             was "suggestive" of such a relationship.69 The following year Hueper reported that "Asbestosis


             66
                Abstract (by L. Telelcy) of article by Nordmann, "Abstract of the Literature of Industrial Hygiene," Supplementary
             to Journal of Industrial Hygiene and Toxicology, 20 (1938), 184 of M. Nordmann, "Occupational Cancer in Asbestos
             Workers," Ztschr. F. Krebsforsch, 47 (1938), 288-302.
             67
                Lynch, Kenneth M. And W. Atmar Smith, "Pulmonary Asbestosis: A Report of Bronchial Carcinoma and
             Epithelial Metaplasia," American Journal of Cancer, 36 (1939), 567-574. Others as well were still unsure of the
             relationship because of small sample size. See: Macklin, Madge Thurlow and Charles C. Macklin, "Does Chronic
             Irritation Cause Primary Carcinoma of the Human Lung," Archives of Pathology, 30 ( 1940), 924 - 955..
             68
                Holleb, Herbert B and Alfred Angrist, "Bronchiogenic Carcinoma in Association with Pulmonary Asbestosis,"
             American Journal of Pathology, 18 (1942), 123-131 at p. 129.
             69
                Hueper, W.C., Occunational Tumors and Allied Diseases, Spingfield IL: Charles C Thomas, 1942, p.404. See also,
             Davis, Edwin, "Chemical Carcinogenesis, Drugs, Dyes, Remedies and Cosmetics with Particular Reference to

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             cancer of the lung is the most recent newcomer among the occupational cancers of this organ" in

             an article published in The Bulletin of the American Society of the Control of Cancer. He noted

             that "asbestosis cancer of the lung has for us a special hygienic and sociologic significance" since

             "the asbestos industry is most extensively developed in this country.""

                     During World War lithe medical literature on both sides of the Atlantic continued to

             follow each other's reports of cancer and asbestos exposure. Specifically, articles in the American

             literature, including the New England Journal of Medicine, the Journal of Industrial Hygiene and

             Toxicology, and the Industrial Hygiene Foundation's Industrial Hygiene Digest, cited German

             studies that continued to document the link.71 The latter two abstracted an article by H.W. Wedler

             Which noted that the "German and foreign literature" clearly documented the relationship: "These

             figures [that twenty percent of autopsied asbestosis victims had lung cancer] clearly show that

             lung cancer is the most common complication encountered in cases of asbestosis, with the

             exception of agonal pneumonia and cardiac insufficiency. Even tuberculosis, whose rate of

             incidence is generally far higher than that of cancer, is considerably lower than for lung cancer in

             these cases. This constitutes conclusive evidence of the close correlation between asbestosis and

             lung cancer."72 Also, during the war the official publications of the major medical and public •



             Bladder Tumors," The Journal of Urology, 49 (1943), 14 -27.
             70 Hueper, W.C., "Cancer in Its Relation to Occupation and Environment," American Society of the Control of
             Cancer, Bulletin, 23 (1943), 63-69.
             71 Tabershaw, Irving R. And Manfred Bowditch, "Industrial Hygiene in 1944," the New England Journal of
             Medicine, 231 (November 23, 1944),706 -710.           cites Homburger and Welz. "Abstract of the Literature of
             Industrial Hygiene," Supplementary to Journal of Industrial Hygiene and Toxicology, 26 (November 1944), 183;
             Abstract in Industrial Hygiene Foundation, Industrial Hygiene Digest, 9 (January 1945), 19— Same as previous
             Abstract.
             72 H. W. Wedler, "Lung Cancer in Asbestosis Patients," Dtsch. Arch. Klin. Med. , 191 (1943), 189 -209. (In German
             but cited several times in subsequent literature.)

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             health societies in the United States, the American Medical Association and the American Public

             Health Association, as well as the International Labour Organization, reported on the suspected

             link between asbestos and cancer.73

                      Shortly after the war ended Wilhelm Hueper published articles in JAMA and the journal,

             Occupational Medicine about this relationship. In the latter Hueper was especially vivid in his

             description of what occupational cancers, including those caused by asbestos, did to American

             workers: "The continued occurrence of occupational cancers,... represents a challenge not only to

             the intelligence but also to the social conscience of human society, because industrial cancers may

             be compared with a biologic bomb having a delayed time fuse which may be placed in the body

             of the victim without his knowledge and realization and which may display its deadly effect many

             years later when the conditions connected with its introduction are often forgotten."74 The

             responsibility of employers and sellers alike to warn anyone who came in contact with hazardous

             materials, including dusts, was recognized by the leading trade association for the chemical

             industry in 1945: "The education of employees regarding chemical hazards is, and must remain,

             the direct responsibility of their employers. However, such hazards are not confined to employees

             alone, and information concerning them should, so far as practical, reach every person using,

             transporting, or storing chemicals. The most practical means for the seller to disseminate this



             73 See: "Environmental Cancer," [Editorial] JAM A, 140 (November 25, 1944), 836, Levin, Morton L. "The
             Epidemiology of Cancer," American Journal of Public Health, 34 (June 1944), 611 -620 and International Labour
             Office, "Occupation and Health; Encyclopedia of Hygiene, Pathology and Social Welfare," Special Supplement:
             Industrial Health in Wartime, Montreal, p.9.1944,
             74 Hueper, W.C., "Significance of Industrial Cancer in the Problem of Cancer,' Occupational Medicine, 2 (1946), at
             p.200 and Hueper, W.C., "Industrial Management and Occupational Cancer," JAMA, 131 (June 29, 1946), 738-741.
             See also, Perry, Kenneth, M.A., "Diseases of the Lung Resulting from Occupational Dusts Other Than Silica,"
             Thorax 2 (1947), 91 -120, at p.116: "Incidence of carcinoma of lung is abnormally high in those exposed to arsenic.

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             information appears to be by labels affixed to containers of hazardous chemicals, bearing

             appropriate precautionary statements and instructions stated as simply and briefly as

             circumstances permit."75

                      The already documented cases of cancer of the lung and asbestosis spurred others to

             investigate this further. Following the war many more such cases were reported. In 1949, the

             publication of the "Annual Report of the Chief Inspector of Factories for the Year 1947"

             quantified the relationship between asbestosis and lung cancer, noting that between 1924 and

             1946 13.2 percent of a sample of 235 autopsies of asbestosis victims also had lung cancer. This

             was ten times higher, the report noted, than the lung cancer rate among silicosis victims

             confirming that asbestos was indeed a cause of lung cancer. The average length of exposure for

             those victims with lung cancer was 16.5 years.76 Studies in the United States also noted the high

             incidence of asbestos-related cancer.77

                      While there was some dissent,78 by 1949, leading American publications accepted this

             data and wrote that asbestos caused lung cancer. An editorial in JAMA, "Asbestosis and Cancer



             dust and to asbestos."
             75 Manufacturing Chemists Association, Manual L-1 "A Guide for the Preparation of Warning Labels for Hazardous

             Chemicals," Adopted 1945; Revised April 1946,. Part 1, p.1.
             76
                "Annual Report of the Chief Inspector of Factories for the Year 1947," January 1949, at p.70. See Merewether's
             report on this study in Merewether, E. R. A., "The Pneumokonioses: Developments, Doubts, Difficulties," Canadian
             Medical Association Journal, 62 (February 1950), 169-173. The importance of these finding were noted at the time:
             See: Mayers, May R. "Industrial Cancer of the Lungs," Compensation Medicine, 4 (March-May 1952), 11 -18: P. 14:
             "The relation of asbestos to lung cancer, long suspected, has received new confirmation from the 1949 Annual Report
             of the Chief Medical Inspector of Factories in England." See also, Kennaway, E. L. and N. M. Kennaway, "A Further
             Study of the Incidence of Cancer of the Lung and Larynx," British Journal of Cancer, 1(1947), 260-298 for evidence
             of the growing epidemiological study of this relationship.
             77 Lynch, Kenneth M. And W. M. Cannon, "Asbestosis: VI Analysis of Forty Necropsied Cases," Diseases of the

             Chest, 14 (January-February, 1948), 874-885.
             78 See, for example, Smith, William E., "Survey of Some Current British and European Studies of Occupational

             Tumor Problems," Archives of Industrial Hygiene, 5 (1952), 242— 263 and the controversy found in "Cancer of the

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             of the Lung," remarked on the sea-change that had overtaken medical thinking. "Until recently the

             coexistence of asbestosis and cancer of the lung was considered by many investigators a

             coincidence.... A causal relation between asbestosis and cancer of the lung is supported by the

             following observations: the incidence rate of cancer of the lung in this group is excessive, since

             the normal death rate from cancer of the lung among adults examined at necropsy at present is

             about 1 per cent of all necropsies." This was particularly important "Since some 20,000 workers

             are employed in the asbestos-producing industries of this country and Canada and many

             additional thousands in various asbestos-consuming industries, increased attention to this

             probable occupational hazard of cancer of the lung by the medical profession is desirable."79

             Among these "asbestos-consuming industries" were "the manufacture of fire-fighting suits, safety

             curtains, and boiler mattresses. Asbestos enters into the composition of lagging material for steam

             pipes, jointing for steam pipes, panelling [sic] of rooms, tiles, the lining of chemical pans, the

             coating of bulkheads of ships and marine piers and perhaps most significantly into the brake                    .

             linings and clutch rings of motor cars."80 An article in Scientific American also listed asbestos as

             a human carcinogen.81 The number of articles documenting this relationship cascaded in the early

             1950s (see appendix C).

                     The studies in the early 1950s by Hill and Doll Sir Richard Doll, confirmed for virtually

             all serious scientists the relationship between cancer and asbestos. In his article, "Mortality from •


             Lung: An Evaluation of the Problem," Proceedings of the Scientific Session, Annual Meeting, American Cancer
             Society, November 3-4, 1953, New York: American Cancer Society, 1956.
             79 "Asbestosis and Cancer of the Lung," JAMA, 140 (August 13, 1949),1219-20.
             80
                Wyers, H., "Asbestosis," Postgraduate Medical Journal, December 1949, 631 —638 at p.632.
             41 Conklin, Groff, "Cancer and Environment," Scientific American, 180 (January 1949), 11-15. See also, Doig, A.T.,
             "Other Lung Diseases Due to Dust," Postgraduate Medical Journal, December 1949, 639 — 649 and Smith, Lawrence

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             Lung Cancer in Asbestos Workers," published in the British Journal of Industrial Medicine, he

             looked at the autopsy reports of 113 men who worked in asbestos factories and found "an

1.•          increased mortality from lung cancer, other respiratory diseases and cardiovascular diseases, in

             association with asbestosis." "From the data [which showed 11 lung cancer deaths when only 0.8

             Were expected] it can be concluded that lung cancer was a specific industrial hazard of certain

             asbestos workers." He went on to say "that the average risk among men employed for 20 or more

             years has been of the order of 10 times that experienced by the general population. The risk has

             become progressively less as the duration of employment under the old dusty conditions has

             decreased."82 Doll's work was cited by the prestigious British Medical Journal in an editorial on

             lung cancer and occupation.83 That same year Wilhelm Hueper, the chief of the Environmental

             Cancer Section of the National Cancer Institute in the United States published an editorial in the

             American Journal of Clinical Pathology, in which he concluded that "the epidemiologic and

             pathologic evidence supporting a causal relationship between asbestosis and cancer of the lung ...

             is quite substantial" and that "the available evidence is adequate for recognizing asbestosis cancer

             of the lung for medicolegal reasons as an occupational disease."84 By the end of the 1950s

             asbestos was generally cited as a cause of lung cancer in American medical textbooks.85 This was



             W. , "Pneumoconiosis and Lung Cancer," Compensation Medicine, 2 (November, 1949), 3 - 10.
             82  Doll, Richard, "Mortality from Lung Cancer in Asbestos Workers," British Journal of Industrial Medicine, 12
             (1955), 81-86 at p.86. See also his earlier study, Doll, Richard, "Bronchial Carcinoma: Incidence and Aetiology,"
             British Medical Journal, 2 (September 5, 1953), 521 - 527.
             8.3 Editorial, "Cancer of the Lung in Industry,' British Medical Journal, 2 (September 24, 1955), 780-781.
             84
                 Hueper, W.C., "Editorial: Silicosis, Asbestosis, and Cancer of the Lung,"American Journal of Clinical Pathology,
             25 (December 1955), 1388-1389.
             85 DuBois, Kenneth P. and E. N. K. Geiling, Textbook of Toxicology, (New York: Oxford University Press, 1959),
             p.110; Cecil, Russell L. and Robert F. Loeb, eds., A Textbook of Medicine, 10th ed., vol. 2, Philadelphia: W.B.
             Saunders Co., 1959)p.993; Eckardt, R.E., Industrial Carcinogens, New York: Grune & Stratton, 1959, p.4.

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             confirmed by much evidence including prospective cohort studies of workers in a number of

             different trades. It was found that "asbestos workers had the second highest observed lung cancers

             ... of the 10 occupations."86

                     Although the risk of asbestos disease in bystanders was known, this issue, including the

             risk of both asbestosis and cancer, increased during the 1960s. In 1962, Milton Scheinbaum

             reported in the American Industrial Hygiene Association Journal that there were serious threat

             from airborne asbestos particles to "anyone working within fifty feet" of someone applying

             asbestos cement plaster with a pneumatic tool.87 By the mid-1960s Wilhelm Hueper warned that

             "asbestosis and asbestos cancer hazards related to an inhalatory exposure to asbestos exist not

             only for asbestos workers proper ... but also for the large number of individuals who may sustain,

             such contacts on an incidental basis. Such persons may be employed permanently or temporarily

             in or near operations where asbestos and asbestos products are produced or handled and where

             they inhale. ,,88

                     The scope of the asbestos problem expanded dramatically in the post World War II era as

             the number of potential victims increased with the growing number of uses of the material. At a

             major conference on asbestos at the New York Academy of Sciences in 1964, Wilhelm Hueper

             stated that world-wide production of asbestos increased from 500 tons in 1880 to 330,000 tons in

             1925 and quadrupled from 446,000 metric tons in 1938 just before the War to over 2,000,000 in


             86 Dunn, John E., George Linden and Lester Breslow, "Lung Cancer Mortality Experience of Men in Certain
             Occupations in California," American Journal of Public Health, 50 (October 1960), 1475— 1487 at 1478.
             87 Scheinbaum, Milton, "Some Health Hazards Associated with the Building Trades," American Industrial Hygiene
             Association Journal, 23(Sept-October, 1962),353-358.
             88 Hueper, W.C., "Occupational and Nonoccupational Exposures to Asbestos," Annals of the New York Academy of
             Sciences," 132 (1965), 184 — 195 at p.187.

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fit




             1958, two decades later. By 1964, production was over 3 million tons. This was especially

             important in the United States as it was "the principal consuming country."89 At the same

             Conference the keynote speaker, J.C. Gilson, the British epidemiologist, told his fellow scientists
             1
             that "Asbestos can truly be called the 20th century mineral. Its output has increased over a 1000-

             fold in 60 years, compared with a mere 50 fold for oil — an industry often regarded as the symbol

             Of industrial growth."9° By 1964 observers noted the wide range of uses for asbestos and the

             "multiplicity of circumstances under which asbestosis can be encountered." In a report of the

             Section on Nature and Prevalence Committee on Occupational Diseases of the Chest of the

10-          American College of Chest Physicians it was noted that there were —"3,000 specific conditions in

             Which asbestos serves uniquely as a protecant against excessive heat, cold and corrosion."91

             Major uses of asbestos included textiles, cement products, friction materials and gaskets, paper,

             floor tile, paints, roof, caulks, plastics. But G.W.H. Schepers "stressed that the medical and health

             Problem originating through exposure to asbestos dust may come about equally through minor

             uses," as wel1.92 Another author noted the increasing dangers of asbestos produced for use in wide

             variety of products, including blankets, clothing, threats, rope, tape, brake linings, wall paper,

             wallboard, shingles, floor covering, plastics, insulation for pipes, boilers, wire, heating pads. Like


             89
                 Hueper, W.C., "Occupational and Nonoccupational Exposures to Asbestos," Annals of the New York Academy of
             Sciences," 132 (1965), 184— 195 at p.186 and Wagner, J.C., J.C. Gilson, G. Berry, V. Timbrell, "Epidemiology of
             Asbestos Cancers," British Medical Bulletin, 27(1971), 71-76.
             9° Gilson, J.C., "Man and Asbestos," Annals of the New York Academy of Sciences," 132 (1965), 9— 11.
             9.1 "Asbestosis," Report of the Section on Nature and Prevalence Committee on Occupational Diseases of the chest,
             American College of Chest Physicians," Diseases of the Chest, 45 (January 1964), 107— 1 I 1 at p. 107.
             r. Hendry, N.W., "The Geology, Occurrences, and Major Uses of Asbestos," Annals of the New York Academy of
             Sciences," 132 (1965), 12 — 22 and Scheppers at p.21. See also, "Complications of Asbestosis," British Medical
             Journal, 1 (April 30, 1960), 1345 - 1353. P. 1350 Comment by Dr. Hugh-Jones: "Asbestosis is a pneumoconiosis
             arising from the inhalation of asbestos dust during the manufacture of asbestos goods, such as asbestos sheeting,
             fireproof clothing, brake linings, lagging for boilers and pipes, etc."

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             Schepers and others before him, H.B. Eisenstadt remarked that "due to the rapid expansion of its

             use, an ever-increasing number of craftsmen and laborers are exposed to the mineral." He even

             cited a case of an auto mechanic who acquired asbestosis "while undercoating vehicles."93

                     The first U.S. case reports of cancers other than those of the lung was recorded in 1947

             when Tracy Mallory, Benjamin Castleman and Edith Parris reported in the New England Journal

             of Medicine "case 33111" from the Massachusetts General Hospital. "Case 33111" was a 37 year

             old worker from Sweden whose work was cutting asbestos insulating board. He was diagnosed

             with mesothelioma of pleura and pericardium. The physicians noted the unusual character of this

             case for "a number of papers have been written to the effect that there is no such tumor as

             mesothelioma of the pleura, that the cells lining the pleura do not form tumors and that these

             tumors really arise from a small focus in the lung." They had "held a similar opinion for a long

             time." But the case forced them to reevaluate their belief. "This is perhaps the first case in which

             we believed that there was actually such a tumor."94

                     J.C. Wagner, C. A. Sleggs, and Paul Marchand documented the relationship between

             asbestos exposure and mesothelioma in a 1960 article published in the British Journal of

             Industrial Hygiene where they detailed "33 histologically proven cases" of mesothelioma, which •

             they described as being "regarded as an uncommon tumour" during the previous four years. They




             93Eisenstadt, H.B., "Plueral Asbestosis," American Practitioner, 13 (September 1962), 573 -578.
             94Mallory, Tracy B., Benjamin Castleman, Edith E. Parris, "Case Records of the Massachusetts General Hospital:
             Case 33111," New England Journal of Medicine, 236 (March 13, 1947), 407 - 412. See also Wyers, H., "Asbestosis,"
             Postgraduate Medical Journal, December 1949, 631 —638; Owen, T.K, "Carcinoma and Asbestosis of the Lung:
             Report of a Case," British Journal of Cancer, 5 (1951), 382-3; Hochberg, Lew A., "Endothelioma (Mesothelioma) of
             the Pleura," American Review of Tuberculosis, 63 (1951), 150— 175 for early reports of mesothelioma related to
             asbestos exposure.

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             reviewed the existing literature95 and concluded, "Our findings suggest that mesothelioma occurs

             20 to 40 years or more after exposure to dust."96 As early as 1962 researchers noted that

             "mesothelioma is now accepted by the majority of pathologists as an entity and in recent years

             diffuse or malignant mesothelioma has been shown to be associated with pulmonary asbestosis int

1 1,'        Canada, Holland, South Africa, and Germany." It was noted that not only workers were at risk but

             those "who lived in areas where asbestos was mined or treated" were also at risk. He also warned

             that there were "increasing number of people manufacturing, handling, or using these products."

             He worried that the "widespread... use of asbestos today" has resulted in "mesothelioma of the

             pleura and peritoneum in people who have occupations in which association with asbestos is not

             Suspected."97 Evidence continued.to mount regarding the risk to bystanders and consumers of

             products using asbestos fiber. In their summary of their findings, Dermot Hourihane argued, "the

             association of these tumours [mesotheliomas] with asbestos bodies in lung tissue is confirmed."

             He pointed out that "many of the cases gave no history of industrial exposure, and it is possible


             95
                Wagner, J.C., C. A. Sleggs, and Paul Marchand, "Diffuse Pleural Mesothelioma and Asbestos Exposure in the
             North Western Cape Province," British Journal of Industrial Medicine, 17 (1960), p. 267: "In 1924 Robertson denied
             the existence of primary malignant tumours of the pleura and considered them to be secondary in origin. Since then,
             on the one hand, Willis (1948, 1953) and Smart and Hinson (1957) have supported Robertson's views, while on the
             other hand, primary neoplasms of this nature have been described by many authors in recent years. These include
             Tobiassen (1955) in Sweden, Belloni and Bovo (1957) in Italy, Godwin (1957) in the United States, and McCaughey
             (1 958) in Britain. Evidence of the mesothelial origin of these tumours can be found in the tissue culture experiments
             of Stout and Murray (1942) and Sano, Weiss, and Gault (1950). They also noted Doll's study which included one
             case of mesothelioma.
             96 Wagner, J.C., C. A. Sleggs, and Paul Marchand, "Diffuse Pleural Mesothelioma and Asbestos Exposure in the
             North Western Cape Province," British Journal of Industrial Medicine, 17 (1960), 260 - 271. A year later they
             reported on eight more cases in Sleggs, C.A. and J. C. Wagner, "Diffuse Pleural Mesotheliomas in South Africa,"
             South African Medical Journal, 35 (January 14, 1961), 28 -34. See also, "Complications of Asbestosis," British
             Medical Journal, 1 (April 30, 1960), 1345 — 1353 and Eisenstadt, H.H. and F.W. Wilson, "Primary Malignant
             mesothelioma of the Pleura," The Lancet, (November 1960), 511 —514 and Hueper, W.C. "Environmental and
             Occupational Cancer Hazards," Symposium on Chemical Carcinogenesis, Clinical Pharmacology and Therapeutics, 3
             (1962), 776 - 813.
             97 Thomson, J.G., "Mesothelioma of Pleura or Peritoneum and Limited Basal Asbestosis," South African Medical


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             that temporary or relatively trivial exposure may have occurred." The severity of the disease was

             grave as "once symptoms from the tumours have arisen, the prognosis appears to be measured in

             months rather than years."98 In the United States, Irving Selikoff built on the British and South

             African literature with an extensive epidemiological study of insulation workers in the building

             trades who had "relatively light, intermittent, exposure to asbestos." He found that of 632 workers

             who "entered the trade before 1943 and were traced through 1962, forty-five died of cancer of the

             lung or pleura, whereas only 6.6 such deaths were expected. Three of the pleural tumors were

             mesotheliomas." Remarking on the mesothelioma findings, Selikoff wrote "the incidence of more
                                                                                                      ,.„
             than 1% of deaths from pleural mesothelioma is strikingly high for a tumor which is generally

             considered to be extremely rare." This augured poorly for other building trades occupations:

             "insulation workers undoubtedly share exposure with their workmates in other trades; intimate,

            •contact with asbestos is possible for electricians, plumbers, sheet-metal workers, steamfitters,

             laborers, carpenters, boiler makers, and foremen."99 Selikoff also expressed concern that

             mesothelioma specifically was more than an occupational hazard and was one which "will be

             found to be a community problem" as well. m Others worried about the growing dangers of

             asbestos exposure. A British report noted that "(1) carcinoma of the lung, and (2) diffuse



             Journal, September 8, 1962), 759 - 760.
             98      •
                Hounhane,   Dermot O'B., "The Pathology of Mesothelioma and an Analysis of Their Association with Asbestos
             Exposure," Thorax, 19 (1964), 268 - 278.
             99 Selikoff, Irving J., Jacob Churg and E. Cuyler Hammond, "Asbestos Exposure and Neoplasia," JAMA, 188 (April
             6, 1964), 22 - 26. See also, Selikoff, I.J., J. Churg, and E.C. Hammond, "The Occurrence of Asbestosis Among  .
             Insulation Workers in the United States," Annals of the New York Academy of Science, 132 (1965), 139 - 155.

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             mesothelioma of the pleura and peritoneum," were clearly recognized and that "there is some

             suggestion of an association also with gastro-intestinal carcinoma, and possibly ovarian tumours."

             Because of the long latency of the disease, "further cases of these associated tumours are expected

             to occur for many years to come, even if dust exposures are now greatly reduced."1°'

                      Wilhelm Hueper summarized the state of knowledge and the depressing implications of

             the information available in a paper presented at the New York Academy of Sciences in 1964:

                      "Numerous reports by many investigators from various countries establish the fact that an

                      occupational or nonoccupational inhalation of dust of different chemical and physical

                      types of asbestos results in the development of asbestosis of the lungs which, depending

                      upon the type of exposure may be designated as an occupational, neighborhood or

                      household pneumoconiosis. Since 1935 an increasing amount of epidemiologic, clinical '

                      and pathologic evidence, moreover, incriminates this health hazard as one of the

                      environmental sources of cancers of the lung, and more recently also of mesotheliomas of

                      the pleura and peritoneum, although some commercially interested parties and their

                      medical guardians and protectors still prefer for their own reasons and motives, to deny


             ibo Selikoff, Irving J, Jacob Churg, and E. Cuyler Hammond, "Relation Between Exposure to Asbestos and
             Mesothelioma," New England Journal of Medicine, 272 (March 18, 1965), 560 - 565.
             101 "Report and Recommendations of the Working Group on Asbestos and Cancer," British Journal of Industrial
             Medicine, 22 (1965), 165 -171. See also, Selikoff, Irving J, Jacob Churg, and E. Cuyler Hammond, "Relation
             Between Exposure to Asbestos and Mesothelioma," New England Journal of Medicine, 272 (March 18, 1965), 560 —
             565: "It appears that mesothelioma must be added to the neoplastic risks of asbestos inhalation, and joins lung
             cancer (53 of 307 deaths) and probably cancer of the stomach and colon (34 of 307 deaths) as a significant
             Complication of such industrial exposure in the United States." See also, Hardy, Harriet, "Asbestos Related Disease,"
             American Journal of Medical Sciences, 250 (October 1965), 381 - 389.

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                        the existence of these dangerous and usually fatal sequelae of a respiratory contact with

                        asbestos dust. The obvious fallacy of such allegations is well demonstrated by the

                        remarkable and a progressive rise in the number of cases of asbestosis and cancers of the

                        lung, pleura, and peritoneum reported from various countries during the past two

                        decades."102

                        For the next four decade researchers would build on these basic observations. By the

             1970s the federal government had incorporated the expanding literature on asbestos, asbestosis

             and cancer into the regulations adopted by the newly-formed federal Occupational Safety and

             Health Administration. In1972, shortly after its formation, the National Institute of Occupational,

             Safety and Health issued a "Criteria Document for a Recommended Standard ... Occupational

             Exposure to Asbestos" that warned that "The recommended standard [was] designed primarily to I,-

             prevent asbestosis," and that "for other diseases associated with asbestos, there is insufficient

             information to establish a standard to prevent such diseases including asbestos-induced neoplasms

             by any all-inclusive limit other than one of zero."103 That same year, OSHA adopted the N 10SH'

             recommendation for a "standard of 8 hour TWA airborne concentrations of asbestos dust not

             exceeding five fibers longer than five micrometers per millimeter." OSHA "concluded that there

             should be one minimum standard to asbestos applicable to all workplaces exposed to any kind, or


             102   Hueper, W.C., "Occupational and Nonoccupational Exposures to Asbestos," Annals of the New York Academy of
             Sciences," 132 (1965), 184- 195.
             103 "Criteria for a Recommended Standard ... Occupational Exposure to Asbestos," U.S. Department of Health,
             Education and Welfare, PHS, CDC, National Institute for Occupational Safety and Health, 1972.

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             mixture of kinds, of asbestos."1°4 NIOSH revised its recommendation in 1976, summarizing the

             consensus that had evolved through the scientific, epidemiological and medical studies of the

             dangers from asbestos to workers, by-standers and the population at large:

                              "Available studies provide conclusive evidence that exposure to asbestos fibers

                              causes cancer and asbestosis in man. Lung cancers and asbestosis have occurred

                              following exposure to chrysotile, crocidolite, amosite, and anthophyllite.

                              Mesotheliomas, lung and gastrointestinal cancers have been shown to be excessive

                              in occupationally exposed persons, while mesotheliomas have developed also in

                              individuals living in the neighborhood of asbestos factories and near crocidolite

                              deposits, and in persons living with asbestos workers....105

                     Animal studies confirmed the observation that "all commercial forms of asbestos are

             carcinogenic in rats, producing lung carcinomas and mesotheliomas following their inhalation,

             and mesotheliomas after intrapleural or IP injection." 106 The available data indicated that asbestos

             had no safe level where workers or others would be protected from cancers. "There are data that

             show that the lower the exposure, the lower the risk of developing cancer," NIOSH suggested.




             lc" Federal Register, title 29 — Labor, Chapter XVII — Occupational Safety and Health Administration, Department of
             Labor, Part 1910 — Occupational Safety and Health Standards, "Standard for Exposure to Asbestos Dust," Federal
             Register, 37 (June 7, 1972), 11318— 11322.
             105
                  „ Revised Recommended Asbestos Standard,” U.S. Department of Health, Education and Welfare, PHS, CDC,
             National Institute for Occupational Safety and Health, Dec.1976, p.92.
             106
                  "Revised Recommended Asbestos Standard," U.S. Department of Health, Education and Welfare, PHS, CDC,
             National Institute for Occupational Safety and Health, Dec.1976, p.92.

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             But "excessive cancer risks have been demonstrated at all fiber concentrations studied to date.

             Evaluation of all available human data provides no evidence for a threshold or for a 'safe' level of

             asbestos exposure." The standard that was recommended, 100,000 fibers )51km in length/m3, was

             intended to "protect against the noncarcinogenic effects of asbestos," and also to "materially

             reduce the risk of asbestos-induced cancer." But, NIOSH explained that "only a ban can assure

             protection against effects of asbestos....),I07


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                                                                             David Rosner, PhD
                                                                               July 3, 2014




             107
                "Revised Recommended Asbestos Standard," U.S. Department of Health, Education and Welfare, PHS, CDC.
             National Institute for Occupational Safety and Health, Dec.1976, p.93.



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                                                            AFFIDAVIT

                 STATE. OF M\
                 COUNTY

                                         AFFIDAVIT OF COUNSEL IN RE:
                                COLLATERAL SOURCE PURSUANT TO FLA. STAT. 774.207

                 Upon first being dilly sworn on oath I. depose and• state as follows:

                     I. My name is Arnold Edmonds and I have personal knowledge of the facts stated in this
                         Affidavit and the facts stated are true and correct to the best of my knowledge.

                    :2. There are no collateral source payments received, other than. medical expenses that may
                         have been paid by medical insurante. I am not aware of any collateral source payments
                         expected in the, future for myself, Arnold Edmonds.


                 FURTHER AFFIANT SAYETH NAUGHT



                                                                               ARNOLD EDMONDS


                 SUBSCRIBED AND SWORN TO BEFORE ME on this 515tday                                    , 2022.


                      JESSE BEAUDOIN.                  Notary blic, In and For the State of
               Notary Public, State of Michigan
                       County of Alpena
             My Commission Expires 2-11-2027
             Acting in the County of                   My commission expires:            - t -


                                                       Printed Name of Notary




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                                                          AFFIDAVIT

                 STATE OF
                 COUNTY OF


                                    AFFIDAVIT OF ARNOLD EDMONDS
                         SWORN INFORMATION FORM PURSUANT TO FL STAT. 774.205(3) (a-g)

                 Upon first being duly sworn on oath, I depose, and state as follows:

                 The facts stated below are true and correct to the best of my knowledge.

           (a)          My name is Arnold Edmonds; my current address is 6580 Indian Reserve Trail Alpena,
                        Michigan 49707; my date of birth is May 18, 1941; my marital status is widowed.
           (b)          Plaintiff Arnold Edmonds will testify generally to his work history and exposure to
                        asbestos. If coworkers are located, Plaintiff reserves the right to amend this Sworn
                        Information Form.
           (c)          Upon information and belief, I was exposed to asbestos while serving in the United States
                        Navy from 1960-1964. Specifically, I served aboard the USS Euryale (AS-22) during the
                        years 1960-1961, the USS Windsor (ARD-22) during the years 1961-1962, the USS
                        Saratoga (CV-60) during the years 1962-1964.
           (d)          Upon information and belief, I was exposed to asbestos while stationed at the Mayport
                        Naval Shipyard in Jacksonville, Florida during the years 1962-1964.
           (e)          Upon information and belief, I was exposed to Defendants' asbestos-containing products
                        during the time frames listed above. Specifically, I was exposed to asbestos containing
                        pumps, valves, boilers, related steam equipment, gaskets, packing, and insulation.
           (f)          Upon information and belief, the occupation and name of the employer at the time of each
                        exposure to asbestos is contained above in (c).
           (g)          I was diagnosed with lung cancer, non-small cell lung carcinoma, on August 19, 2021.
           (h)          Please see my Pathology Report for documentation of my condition.




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                 DULY SWORN, PROPERLY DID EXECUTE THE FOREGOING-AFFIDAVIT.

                 SUBSCRIBED AND SWORN TO BEFORE ME on this             .310 day of          tArk tr-L\ ,2022.



                            JESSE BEAUDOIN
                     Notary Public, State of Michigan   Notary Public, In and For the State of   Midi jCift,,L
                              County of Alpena
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                    Acting in the County of
                                                        My dommission expires:     09,- 11-       oa--t
                                                        Printed Name o,f Notary   ,Qc--f- e T-d-RfLux-Y)4)




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                     C [104mb-a amlitock, M.D.
                                              Medical) Laboratory Direotor



                 1501 W. Chisholnro i.
                 Alpena, M1 49707
                 Phone: (S) 358-7249
                 Fax      ...&89) 356-7750
                 CYTOLOGY liON-GYNECOLOGOCAL(N) REPORT
                  Amended "4

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                Physician'       I I rl MAXWELL CO
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                Sou=clrpm m)
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                I3R3343 ThescrIption
                Re-calved CytolLyit btative s 6,0 oc red seoni-turbkt Multi via srnal0 Ibnash
                from which a Mtn pep smear and call block are prepared

                ADDMONAL MICROSCOPOC 08-48-2021):
                The ceq block was used to perfonm lmmunostains with satisfactory contras
                lncludng CK20, iPSA, Ml0C-31, p83 and TIF1„ all WM zallsfet Wily controls. l'he
                imrrouroostalns ars noncontribuloq lb* Bnal ,dagnosie due to absence of
                rasldual tnal5onant veils on ihe [prepared pall) Moth.

                 Mad CylollogIc Ola,gnesis
                PRELIMINARY INTERPRETATOON:
                RUL El'aelhing "Mtn Prep Cytology and Call Block:
                  POI9ITOVE Fofft 0./IALIGNIAINT CMLS;

                   FML. DIAGNOSIS 08-05-20211):
                RUL boushMg, ThOnPrep cytology and cell block:
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                acalonal mIcRoscolplo,

                Dlagnoshs Comnent
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                cflagnosed 2001.
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           FORM 1.997. CIVIL COVER SHEET

           The civil cover sheet and the information contained in it neither replace nor supplement the filing
           and service of pleadings or other documents as required by law. This form must be filed by the
           plaintiff or petitioner with the Clerk of Court for the purpose of reporting uniform data pursuant
           to section 25.075, Florida Statutes. (See instructions for completion.)


                   I.      CASE STYLE

                    IN THE CIRCUIT/COUNTY COURT OF THE THIRTEENTH JUDICIAL CIRCUIT,
                             IN AND FOR HILLSBOROUGH COUNTY, FLORIDA

           Arnold Edmonds
           Plaintiff                                                                Case #
                                                                                    Judge
           vs.
          ARMSTRONG INTERNATIONAL, AURORA PUMP COMPANY, BLACKMER PUMP
          COMPANY, CARRIER CORPORATION, CATERPILLAR INC., CROWN CORK & SEAL CO.,
          INC, ELECTROLUX HOME PRODUCTS, FLOWSERVE US, INC., FLOWSERVE US, INC.,
          FMC CORPORATION, GARDNER DEVNER, INC., GOULDS PUMP LLC, GRINNELL LLC,
          HONEYWELL INTERNATIONAL, INC., HOWDEN NORTH AMERICA, IMO INDUSTRIES,
          INC., ITT LLC, LAMONS GASKET COMPANY, METROPOLITAN LIFE INSURANCE CO.,
          SPIRAX SARCO INC., UNION CARBIDE CORPORATION, WARREN PUMPS, L.L.C.
           Defendant



                           AMOUNT OF CLAIM
          Please indicate the estimated amount of the claim, rounded to the nearest dollar. The estimated amount of
          the claim is requested for data collection and clerical processing purposes only. The amount of the claim
          shall not be used for any other purpose.

           El $8,000 or less
          , El $8,001 - $30,000
            o $30,001- $50,000
            El $50,001- $75,000
            El $75,001 - $100,000
            CO over $100,000.00

                   III.    TYPE OF CASE           (If the case fits more than one type of case, select the most
           definitive category.) If the most descriptive label is a subcategory (is indented under a broader
           category), place an x on both the main category and subcategory lines.
Case 8:22-cv-00825-TPB-SPF Document 1-1 Filed 04/06/22 Page 127 of 128 PageID 137




   CIRCUIT CIVIL

   • Condominium
   O Contracts and indebtedness
   O Eminent domain
   0 Auto negligence
      Negligence—other
           O Business governance
           O Business torts
           O Environmental/Toxic tort
           O Third party indemnification
           O Construction defect
           O Mass tort
           O Negligent security
    •      0 Nursing home negligenee
           O Premises liability—commercial
           O Premises liability—residential
   O Products liability
   O Real Property/Mortgage foreclosure
    •    0 Commercial foreclosure
         O Homestead residential foreclosure
         0 Non-homestead residential foreclosure
         o Other real property actions

   fl Professional malpractice
           O Malpractice—business
           O Malpractice—medical
           O Malpractice—other professional
   O Other
           O Antitrust/Trade regulation
           O Business transactions
           O Constitutional challenge—statute or ordinance
           O Constitutional challenge—proposed amendment
           O Corporate trusts
           O Discrimination—employment or other
           O Insurance claims
           O intellectual property
           O Libel/Slander
           O Shareholder derivative action
           O Securities litigation
           O Trade secrets
           O Trust litigation


   COUNTY CIVIL

   O Small Claims up to $8,000
   El Civil
   O Real property/Mortgage foreclosure

                                                   2
                                                                                                               !I
Case 8:22-cv-00825-TPB-SPF Document 1-1 Filed 04/06/22 Page 128 of 128 PageID 138




       Replevins
    El Evictions
           1:1 Residential Evictions
           O Non-residential Evictions
    0 Other civil (non-monetary)

                                         COMPLEX BUSINESS COURT

   This action is appropriate for assignment to Complex Business Court as delineated and mandated by the
   Administrative Order. Yes 0 No N

            IV.   REMEDIES SOUGHT (check all that apply):
            El Monetary;
            O Nonmonetary declaratory or injunctive relief;
            O Punitive
                                                                                                           I
            V.     NUMBER OF CAUSES OF ACTION: [ ]
            (Specify)

              2

            VI.     IS THIS CASE A CLASS ACTION LAWSUIT?
                    0 yes
                       no

            VII.    HAS NOTICE OF ANY KNOWN RELATED CASE BEEN FILED?
                      no
                    O yes If "yes," list all related cases by name, case number, and court.

            VIII. IS JURY TRIAL DEMANDED IN COMPLAINT?
                   • yes
                   O no

    I CERTIFY that the information I have provided in this cover sheet is accurate to the best of
    my knowledge and belief, and that I have read and will comply with the requirements of
    Florida Rule of Judicial Administration 2.425.

    Signature: s/ Paige Woidyla                            Fla. Bar # 1010161
                   Attorney or party                                      (Bar # if attorney)

   Paige Wojdyla                            02/22/2022
   , (type or print name)                          Date




                                                      3
